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                             Ex. 1
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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF RHODE ISLAND


 RHODE ISLAND LATINO ARTS,
 NATIONAL QUEER THEATER, THE
 THEATER OFFENSIVE, and THEATRE
 COMMUNICATIONS GROUP,

                 Plaintiffs,
                                                                          Civil Action
     v.                                                             No. 24-cv-79-WES-PAS
 NATIONAL ENDOWMENT FOR THE
 ARTS; MARY ANNE CARTER, in her of-
 ficial capacity as Acting Chair of the Na-
 tional Endowment for the Arts,

                 Defendants.


                                    DECLARATION OF KEVIN BOLAN
          I, Kevin Bolan, declare as follows:

          1.         I am an Assistant United States Attorney in the U.S. District of Rhode Island and

 am counsel for the Defendants in this action.

          2.         I submit this declaration in support of the Defendants’ response to the Plaintiffs’

 motion for preliminary injunction.

          3.         The attached exhibits are true and accurate copies of documents issued by the Na-

 tional Endowment for the Arts. The outline lettering of the documents below matches their ex-

 hibit letter:

                     a.        NEA, Legal Requirements and Assurance of Compliance (Mar. 11, 2025),

          https://www.arts.gov/grants/legal-requirements-and-assurance-of-compliance.

                     b.        NEA, General Terms and Conditions for Federal Financial Assistance

          Awards to Organizations (Apr. 22, 2024), https://www.arts.gov/sites/default/files/FY25-

          GTC-ORGs-11.5.2024.pdf.

                     c.        Mem. from Mary Anne Carter, NEA Senior Advisor, to NEA Grantmak-

          ing Staff (Mar. 17, 2025).




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       I declare under penalty of perjury that the foregoing is true and correct.

 March 21, 2025                                  /s/ Kevin Bolan
                                                 Assistant United States Attorney




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             Legal Requirements and
             Assurance of Compliance

             Legal Requirements
             NOTE: This list highlights some of the significant legal requirements
             that may apply to an applicant or recipient; however, it is not
             exhaustive. More information regarding these and other legal
             requirements may be found at Appendix A of the General Terms &
             Conditions </grants/manage-your-award>, which set forth the National Policy
             and Other Legal Requirements, Statutes, Regulations, and Executive
             Orders that Govern Your Award. There may be other applicable legal
             requirements that are not listed in this document. It is ultimately
             your responsibility to ensure that you are compliant with all legal,
             regulatory, and policy requirements applicable to your award.




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             1. By law, the National Endowment for the Arts may support only
                 those organizations:




                      That are tax-exempt. Organizations qualifying for this status
                      must meet the following criteria:

                      1. No part of net earnings may benefit a private stockholder or
                      individual.
                      2. Donations to the organization must be allowable as a
                      charitable contribution under Section 170(c) of the Internal
                      Revenue Code of 1954, as amended.

                      For further information, go to the Internal Revenue Service's
                      (IRS) website <http://www.irs.gov>.

                      Who have not had their IRS status revoked. It is your
                      responsibility to ensure that your status is current at the time of
                      the application and throughout the life of your award.




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                      That compensate all professional performers and related or
                      supporting professional personnel on National Endowment for
                      the Arts-supported projects at no less than the prevailing
                      minimum compensation. (This requirement is in accordance with
                      regulations that have been issued by the Secretary of Labor in
                      29 CFR Part 505 <http://www.gpo.gov/fdsys/pkg/cfr-1998-title29-vol3/pdf/cfr-
                      1998-title29-vol3-chap-id2.pdf>. This part does not provide information

                      on specific compensation levels.)

                      That ensure that no part of any National Endowment for the
                      Arts-supported project will be performed under or engaged in
                      working conditions which are unsanitary, hazardous, or
                      dangerous to the health and safety of the employees involved.




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             2. Some legal requirements apply to every applicant. For example:




                      Compliance with the federal requirements that are outlined in
                      the Assurance of Compliance below

                      Debarment and Suspension procedures. The applicant must
                      comply with requirements set forth in Subpart C of 2 CFR 180, as
                      adopted by the National Endowment for the Arts in 2 CFR Part
                      3254. Failure to comply may result in the debarment or
                      suspension of the recipient, and the National Endowment for the
                      Arts suspending, terminating, and/or recovering the funds. More
                      information on Debarment and Suspension procedures can be
                      found in the GTCs.

                      Federal Debt Status (OMB Circular A-129
                      <https://www.whitehouse.gov/wp-

                      content/uploads/legacy_drupal_files/omb/circulars/a129/a-129.pdf>). Processing of

                      applications will be suspended when applicants are delinquent
                      on federal tax or non-tax debts, including judgment liens against
                      property for a debt to the federal government. An organization's
                      debt status is displayed in the System for Award Management
                      (SAM). New awards will not be made if an applicant is still in
                      debt status as of September 1 of the fiscal year listed on this
                      funding opportunity.




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                      Labor Standards (29 CFR Part 505
                      <https://www.govinfo.gov/app/details/cfr-2023-title29-vol3/cfr-2023-title29-vol3-

                      part505>). Recipients must comply with the standards set out in

                      Labor Standards on Projects or Productions Assisted by Grants
                      from the National Endowments for the Arts.

                      The Drug-Free Workplace Act of 1988
                      <https://www.govinfo.gov/content/pkg/uscode-2020-title41/html/uscode-2020-title41-

                      subtitleiv-chap81-sec8103.htm> (41 U.S.C. 8101 et seq. and 2 CFR Part

                      3256). The recipient is required to publish a statement regarding
                      its drug-free workplace program as well as to comply with other
                      requirements.




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             3. Some legal requirements apply depending upon what activity the
                 award is funding. For example:




                      If your project activities have the potential to impact any
                      structure that is eligible for or on the National Register of
                      Historic Places, adjacent to a structure that is eligible for or on
                      the National Register of Historic Places, or located in an historic
                      district, you will be asked to provide additional information
                      about your project or take additional action so that the agency
                      can review and comply with the National Historic Preservation
                      Act <https://www.achp.gov/protecting-historic-properties> (NHPA). NHPA also
                      applies to any planning activities that may affect historic
                      properties or districts. The additional agency review must be
                      completed prior to any agency funds being released.

                      If your project activities have the potential to impact the
                      environment or environmentally sensitive resources, you will be
                      required to provide information in accordance with the National
                      Environmental Policy Act <https://www.epa.gov/laws-regulations/summary-
                      national-environmental-policy-act> (NEPA). The additional agency review

                      must be completed prior to any agency funds being released.




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                      If your project activities include any contract over $2,000
                      involving the construction, alteration, or repair of public
                      buildings or public works, the contract must contain a clause
                      setting forth the minimum wages to be paid to laborers and
                      mechanics employed under the contract in accordance with The
                      Davis-Bacon and Related Acts (DBRA). More information on DBRA
                      can be found in the GTCs </grants/manage-your-award> under the
                      “Other National Policies” heading.

                      Projects or programs that are determined to be obscene are
                      without artistic merit and shall not be funded. 20 USC 952(j)-(l);
                      20 USC 954(d),(l).

             4. Some legal requirements apply depending upon who the applicant
                 is. For example:




                      The Native American Graves Protection and Repatriation Act of
                      1990 (25 U.S.C. 3001 et seq.) applies to any organization that
                      controls or possesses Native American cultural items, such as
                      human remains or associated funerary objects and receives
                      Federal funding, even for a purpose unrelated to the Act.




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             5. In addition, State Arts Agencies must meet the requirements in
                 Section 954(g)(2) of the National Endowment for the Arts’
                 authorizing legislation, which state:

                 "In order to receive assistance under this subsection in any fiscal
                 year, a State shall submit an application for such grants at such
                 time as shall be specified by the Chairperson and accompany such
                 applications with a plan which the Chairperson finds—

                 (A) designates or provides for the establishment of a State agency
                 (hereinafter in this section referred to as the "State agency") as the
                 sole agency for the administration of the State plan;

                 (B) provides that funds paid to the State under this subsection will
                 be expended solely on projects and productions approved by the
                 State agency which carry out one or more of the objectives of
                 subsection (c);

                 (C) provides that the State agency will make such reports, in such
                 form and containing such information, as the Chairperson may
                 from time to time require, including a description of the progress
                 made toward achieving the goals of the State plan;

                 (D) provides—

                   i. assurances that the State agency has held, after reasonable
                      notice, public meetings in the State to allow all groups of artists,
                      interested organizations, and the public to present views and
                      make recommendations regarding the State plan; and




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                  ii. a summary of such recommendations and the State agency’s
                      response to such recommendations; and

                 (E) contains--

                   i. a description of the level of participation during the most recent
                      preceding year for which information is available by artists,
                      artists’ organizations, and arts organizations in projects and
                      productions for which financial assistance is provided under this
                      subsection;

                  ii. for the most recent preceding year for which information is
                      available, a description of the extent projects and productions
                      receiving financial assistance from the State arts agency are
                      available to all people and communities in the State; and

                 iii. a description of projects and productions receiving financial
                      assistance under this subsection that exist or are being
                      developed to secure wider participation of artists, artists’
                      organizations, and arts organizations identified under clause (i)
                      of this subparagraph or that address the availability of the arts
                      to all people or communities identified under clause (ii) of this
                      subparagraph.

                 No application may be approved unless the accompanying plan
                 satisfies the requirements specified in this subsection."




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             Assurance of Compliance
             By signing and submitting its application form on Grants.gov, the
             applicant certifies that it is in compliance with the statutes outlined
             below and all related National Endowment for the Arts regulations as
             well as all applicable executive orders, and that it will maintain
             records and submit the reports that are necessary to determine its
             compliance.

             We may conduct a review of your organization to ensure that the
             applicant is in compliance with these statutes, regulations, and
             executive orders. If the NEA determines that a recipient has failed to
             comply with any of these statutes, regulations, or executive orders, it
             may suspend or terminate the award, and/or recover the funds. The
             applicant’s assurance of compliance is subject to judicial
             enforcement.

             The applicant certifies that it does not discriminate:

                 On the grounds of race, color, or national origin, in accordance with
                 Title VI of the Civil Rights Act of 1964, as amended (42 U.S.C. 2000d
                 et seq.), implemented by the National Endowment for the Arts at
                 45 CFR 1110.

                 Solely on the grounds of disability, in accordance with Section 504
                 of the Rehabilitation Act of 1973 (29 U.S.C. 794), as amended,
                 implemented by the National Endowment for the Arts at 45 CFR
                 1151, and the Americans with Disabilities Act of 1990 ("ADA"), as
                 amended, (42 U.S.C. 12101 et seq.).




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                 On the basis of age, in accordance with the Age Discrimination Act
                 of 1975, as amended (42 U.S.C. 6101 et seq.), implemented by the
                 National Endowment for the Arts at 45 CFR 1156.

                 On the basis of sex, in any education program or activity, in
                 accordance with Title IX of the Education Amendments of 1972, as
                 amended (20 U.S.C. 1681 et seq.).

             In addition, the applicant agrees that, if the applicant is selected and
             becomes a NEA grant recipient:

                 The applicant will comply with all applicable Executive Orders while
                 the award is being administered. Executive orders are posted at
                 whitehouse.gov/presidential-actions.

                 The applicant’s compliance in all respects with all applicable
                 Federal anti-discrimination laws is material to the U.S.
                 Government’s payment decisions for purposes of section 3729(b)(4)
                 of title 31, United States Code, pursuant to Executive Order No.
                 14173, Ending Illegal Discrimination and Restoring Merit-Based
                 Opportunity, dated January 21, 2025. PLEASE NOTE: Due to the
                 preliminary injunction issued on February 21, 2025, by the United
                 State District Court for the District of Maryland, Case No. 1:25-cv-
                 00333-ABA, the NEA is not currently requiring any grantee or
                 contractor to make any “certification” or other representation
                 pursuant to Executive Order No. 14173. This term will not apply to
                 your award as long as this preliminary injunction remains in effect.




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                 The applicant will not operate any programs promoting “diversity,
                 equity, and inclusion” (DEI) that violate any applicable Federal anti-
                 discrimination laws, in accordance with Executive Order No. 14173.
                 PLEASE NOTE: Due to the preliminary injunction issued on February
                 21, 2025, by the United State District Court for the District of
                 Maryland, Case No. 1:25-cv-00333-ABA, the NEA is not currently
                 requiring any grantee or contractor to make any “certification” or
                 other representation pursuant to Executive Order No. 14173. This
                 term will not apply to your award as long as this preliminary
                 injunction remains in effect.

                 The applicant understands that federal funds shall not be used to
                 promote gender ideology, pursuant to Executive Order No. 14168,
                 Defending Women From Gender Ideology Extremism and Restoring
                 Biological Truth to the Federal Government. PLEASE NOTE: Pending
                 the outcome of litigation in the United States District Court of Rhode
                 Island, Case No.1:25-cv-00079-WES-PAS, the NEA is not currently
                 requiring any grantee to make any "certification" or other
                 representation pursuant to Executive Order 14168.

             The applicant will inform the public that persons who believe they
             have been discriminated against on the basis of race, color, national
             origin, disability, sex, or age may file a complaint with the Director of
             Civil Rights at the National Endowment for the Arts.

             The applicant will forward all complaints for investigation and any
             finding issued by a Federal or state court or by a Federal or state
             administrative agency to:




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             Director, NEA Office of Civil Rights
             Email: civilrights@arts.gov

             The applicant shall maintain records of its compliance and
             submission for three (3) years. The applicant will compile, maintain
             and permit access to records as required by applicable regulations,
             guidelines or other directives.

             The applicant must also certify that it will obtain assurances of
             compliance from all subrecipients and will require all subrecipients of
             National Endowment for the Arts funds to comply with these
             requirements.

             The United States has the right to seek judicial or administrative
             enforcement of this assurance.




             Stay Connected to the National Endowment for the
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             20506
             202.682.5400




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                                                                                      November 2024




    General Terms and Conditions
            for Federal Financial Assistance Awards
                        to Organizations

            Incorporating revisions to Title 2 of the Code of Federal Regulations (2 CFR)
           for all Federal Financial Assistance Awards issued on or after October 1, 2024
                                     (89 FR 30046 April 22, 2024)




Office of Grants Management
National Endowment for the Arts
400 7th Street, SW
Washington, DC 20506
Telephone (202) 682-5403
grants@arts.gov
finalreports@arts.gov
www.arts.gov/grants/manage-your-award
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Accessibility Accommodations
Individuals who are deaf or hard-of-hearing may e-mail the Office of Grants Management at
grants@arts.gov for assistance.

Individuals who do not use conventional print or electronic media may access the information in this
document by contacting the Office of Accessibility at accessibility@arts.gov or by phone at (202) 682-
5532.




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Important Information Regarding Your National Endowment for the Arts Award

1. Applicability

The General Terms and Conditions for Federal Financial Assistance Awards to Organizations (GTCs)
apply to grants and cooperative agreements (awards) the National Endowment for the Arts (NEA or the
agency) issues to 501(c)(3) nonprofit organizations, institutions of higher education (IHEs), units of
state and local government, and federally recognized tribal entities.

       •    Awards issued under the Partnership Agreement funding opportunity to State Arts Agencies
            (SAAs) and Regional Arts Organizations (RAOs) are subject to the General Terms and Conditions
            for Partnership Agreements.
       •    Awards issued under all other NEA funding opportunities for subaward projects to pass-through
            entities 1 are subject to the General Terms and Conditions for Pass-Through Entities.

Contact the NEA Office of Grants Management at grants@arts.gov if you are unsure which General
Terms and Conditions apply to your award.

Implementation. These GTCs implement Title 2 of the Code of Federal Regulations (2 CFR) including
Subtitle A-Office of Management and Budget Guidance for Federal Financial Assistance and Part 200-
Uniform Administrative Requirements, Cost Principles, and Audit Requirements for Federal Awards
(Part 200 or § 200), last amended on October 2, 2024. You may access the full text of 2 CFR 200 at
https://www.ecfr.gov/current/title-2/subtitle-A/chapter-I.

Adoption. The NEA has adopted 2 CFR 200 through regulation at 2 CFR 3255.1.

Additional Statutes and Policies. The GTCs are also based on the NEA’s legislation 20 U.S.C. § 954 and
955, along with other federal statutes, regulations, and executive orders that apply to federal financial
assistance awards and established NEA policies. All NEA award recipients must be familiar with and
comply with applicable requirements.

The NEA endeavors to include pertinent statutes and regulations within the GTCs. In general, more
expansive information can be found by reviewing the enumerated citations.

When applicable, your award may also require specific terms and conditions (§ 200.308). Should there
be inconsistency between requirements, specific terms and conditions supersede the GTCs. You can

1
    Only State Arts Agencies, Regional Arts Organizations, and designated Local Arts Agencies are eligible to subgrant NEA funds.

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find specific terms and conditions for your award (if applicable) in the Documents tab in your award
record in REACH, the NEA’s electronic grants management system.


2. Your Responsibilities as a Recipient of a Federal Financial Assistance Award

When you accept an NEA award, your organization assumes legal, financial, administrative, and
programmatic responsibilities for administering the award in accordance with any provisions included
in the award; the statutes, regulations, executive orders and established NEA policies governing federal
financial assistance awards; and these GTCs, all of which are hereby incorporated into your award by
reference. While the NEA may provide you with reminders regarding award requirements, the absence
of receiving such notice does not relieve you of your responsibilities. If you fail to comply with these
requirements, the NEA may suspend or terminate your award and recover NEA funding. In addition,
the United States has the right to seek judicial enforcement of these obligations.

Acceptance of an NEA Award. Submission of a Payment Request constitutes your agreement to
comply with all the terms and conditions of the award.

All NEA award recipients must:

   1. Comply with the terms and conditions of your award, including the GTCs, 2 CFR 200, and any
      specific terms and conditions that apply to the award (§ 200.100.)

   2. Maintain an active registration in the System for Award Management (SAM.gov) with current
      information about your entity at all times during which your entity has an active award or
      application under consideration (§ 200.25).

   3. Ensure the efficient and effective administration of the federal award through sound
      management practices (§ 200.400(a)).

   4. Administer federal funds in a manner consistent with the U.S. Constitution, federal statutes,
      regulations, and the terms and conditions of your federal award (§ 200.303 (b) and .400).

   5. Maintain accounting practices consistent with the cost principles in 2 CFR 200 and that support
      the accumulation of costs as required by these cost principles, including maintaining adequate
      documentation to support costs charged to the federal award.

   6. Maintain a sound financial management system that records separately within its general
      accounting system the receipt and disbursement of grant funds and cost sharing contributions
      and that monitors the expenditure of these funds against the approved award budget (§
      200.302).

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   7. Have in place written procedures for determining the allowability of costs, the disbursement of
      federal funds, procurement, conflict of interests, compensation for personal services, leave
      policies, classification of participant costs, relocation policies, and travel reimbursement for
      staff on official business. (§ 200.430(g)(7); .112; .318(c); .302, .317-.327; .475)

   8. Document the time and effort spent by all employees/staff/personnel on approved project
      activities (§ 200.430 (g)).

   9. Conduct all procurement transactions in an open and free competition and ensure that
      procurement contracts for more than the simplified acquisition threshold that are not awarded
      by competitive bids or offers are justified and documented (§ 200.317 through .327).

   10. Carry out your project activities as approved by the NEA at the time of award and, if amended,
       as acknowledged in writing by the Office of Grants Management (§ 200.308).

   11. Request written approval from the NEA Office of Grants Management for any changes to your
       project prior to implementing the changes.

   12. Acknowledge the NEA’s support in all materials publicizing or resulting from project activities.

   13. Submit all financial and performance reports by the due dates as required by the terms and
       conditions of the award (§ 200.328(d)).

   14. Comply with requirements concerning record retention and the federal government’s rights of
       access to records and personnel (§ 200.334 through .338).

   15. Have an audit performed that meets the requirements of 2 CFR 200 Subpart F - Audit
       Requirements whenever you expend $1,000,000 or more in federal funds during a fiscal year (§
       200.501).


3. Acknowledgment of National Endowment for the Arts Support and Disclaimer

You must prominently acknowledge NEA support in all materials and announcements for your funded
project. You can find NEA logos for your use on the Manage Your Award section of the NEA’s website
at www.arts.gov/grants/manage-your-award.

Most NEA awards support specific projects, therefore, you can only use the NEA’s name and logo in
relation to your NEA-supported project. Do not advertise the NEA as a general donor to your
organization. Do not include the NEA in a list of donors not specific to the supported project or suggest
that NEA provides continued support to your organization after the NEA closes out your award.

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The NEA reserves the right to change the language of the required acknowledgment of NEA support, as
well as the right to disallow the use of the NEA logo and acknowledgment of NEA support.

Language for print and online project materials. A basic requirement is a phrase acknowledging NEA
support using the following language: "This project is supported in part by the National Endowment for
the Arts." The NEA encourages you to also include "To find out more about how National Endowment
for the Arts grants impact individuals and communities, visit www.arts.gov."

In addition, the NEA encourages you to use NEA’s current logo whenever possible to accurately
indicate that the NEA is currently supporting your project. You may not alter the NEA logo without
written permission from the NEA’s Office of Public Affairs.

You may use social media to indicate NEA support of your project using the following language, "This
project is supported in part by the National Endowment for the Arts." You may also include the NEA in a
list of project supporters. On certain social media platforms, you may use @NEAarts instead of spelling
out the full name of the agency.

Language for radio, television, and streaming audio and/or video broadcast. The NEA requires the
following voice-over language: "This project is supported in part by the National Endowment for the
Arts. On the web at arts dot gov." For television or streaming video broadcast, you must display the
current NEA logo and the www.arts.gov web address (URL).


4. Selected Definitions (§ 200.1)

Frequently used terms are summarized below; refer to § 200.1 for additional definitions and detail.

 Term                          Definition
 Assistance Listing            The publicly available listing of federal assistance programs managed
                               and administered by the General Services Administration (GSA) at
                               SAM.gov.
 Assistance Listing            A unique number assigned to identify an Assistance Listing.
 Number
 Authorizing Official          The person at the recipient organization who has the authority to bind
                               the organization legally and financially. For recipient organizations
                               (parent organizations) responsible for an approved independent



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Term                           Definition
                               component (child organization), the Authorizing Official must have the
                               authority to bind the parent organization.
Closeout                       The process by which the federal agency or pass-through entity
                               determines that all applicable administrative actions and all required
                               work of the federal award have been completed and takes actions as
                               described in § 200.344.
Cognizant Agency for           The federal agency designated to carry out the responsibilities described
Audit                          in § 200.513(a). The cognizant agency for audit is not necessarily the
                               same as the cognizant agency for indirect costs.
Cognizant Agency for           The federal agency responsible for reviewing, negotiating, and
Indirect Costs                 approving cost allocation plans or indirect cost proposals on behalf of all
                               federal agencies. The cognizant agency for indirect costs is not
                               necessarily the same as the cognizant agency for audit.
Contract                       For the purpose of federal financial assistance, a legal instrument by
                               which a recipient or subrecipient conducts procurement transactions
                               under a federal award. For additional information on subrecipient and
                               contractor determinations, see § 200.331.
Cooperative Agreement          A legal instrument of financial assistance between a federal agency and
                               a recipient that, consistent with 31 U.S.C. 6302-6305: (1) Is used to enter
                               into a relationship the principal purpose of which is to transfer anything
                               of value to carry out a public purpose authorized by a law of the United
                               States (see 31 U.S.C. 6101(3)); and not to acquire property or services
                               for the federal Government's direct benefit or use; (2) Is distinguished
                               from a grant in that it provides for substantial involvement of the
                               federal agency in carrying out the activity contemplated by the federal
                               award.
Cost Share                     The portion of project costs not paid by federal funds. This term includes
                               matching, which refers to required levels of cost share that you must
                               provide to the project.
De Minimis Indirect Cost       Recipients that do not have a current federal negotiated indirect cost
Rate                           rate may elect to charge a de minimis rate of up to 15 percent (15%) of
                               modified total direct costs (MTDC). The recipient is authorized to
                               determine the appropriate rate up to this limit. See § 200.414.
Disallowed Cost                Charges to a federal award that the federal agency or pass-through
                               entity determines to be unallowable in accordance with applicable
                               federal statutes, regulations, the provisions of 2 CFR 200, or the terms
                               and conditions of the federal award.

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Term                             Definition
Equipment                        Tangible personal property (including information technology systems)
                                 having a useful life of more than one year and a per-unit acquisition cost
                                 that equals or exceeds the lesser of the capitalization level established
                                 by the recipient for financial statement purposes, or $10,000.
Expenditure                      Expenditures means charges made by a recipient to a project or
                                 program for which a federal award is received. The charges may be
                                 reported on a cash or accrual basis as long as the methodology is
                                 disclosed and consistently applied.
Federal Funding                  The Federal Funding Accountability and Transparency Act (FFATA)
Accountability and               requires information about federal awards to be posted on a single,
Transparency Act (P.L.           searchable website (www.USASpending.gov) that is open for public
109-282, 9/26/2006)              access.
Federal Share                    The portion of the approved project costs paid using federal (NEA)
                                 funds.
Grant or Grant                   A legal instrument of financial assistance between a federal agency and
Agreement                        a recipient or between a pass-through entity and a subrecipient,
                                 consistent with 31 U.S.C. 6302, 6304. A grant is distinguished from a
                                 cooperative agreement in that it does not provide for substantial
                                 involvement of the federal agency in carrying out the activity
                                 contemplated by the federal award.
Indian Tribe                     Indian Tribe means any Indian Tribe, band, nation, or other organized
                                 group or community, including any Alaska Native village or regional or
                                 village corporation as defined in or established pursuant to the Alaska
                                 Native Claims Settlement Act (43 U.S.C. Chapter 33), which is recognized
                                 as eligible for the special programs and services provided by the United
                                 States to Indians because of their status as Indians. See 25 U.S.C.
                                 5304(e). This includes any Indian Tribe identified in the annually
                                 published Bureau of Indian Affairs list of “Indian Entities Recognized and
                                 Eligible to Receive Services” and other entities that qualify as an Alaska
                                 Native village or regional village corporation as defined in or established
                                 pursuant to the Alaska Native Claims Settlement Act.
Indirect Costs                   Those costs incurred for a common or joint purpose benefiting more
                                 than one cost objective and not readily assignable to the cost objectives
                                 specifically benefitted, without effort disproportionate to the results
                                 achieved. Institutes of higher education (IHE) often use the term
                                 facilities and administrative (F&A) cost to refer to indirect costs.


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Term                            Definition
Modified Total Direct           Indirect cost rate base that consists of all direct salaries and wages,
Cost (MTDC)                     applicable fringe benefits, materials and supplies, services, travel, and
                                up to the first $50,000 of each subaward (regardless of the period of
                                performance of the subawards under the award).

                                MTDC excludes equipment, capital expenditures, charges for patient
                                care, rental costs, tuition remission, scholarships and fellowships,
                                participant support costs, and the portion of each subaward in excess of
                                $50,000. Other items may only be excluded when necessary to avoid a
                                serious inequity in the distribution of indirect costs and with the
                                approval of the cognizant agency for indirect costs.
Non-federal Entity              Either a State, local government, Indian Tribe, Institution of Higher
                                Education (IHE), or nonprofit organization that carries out a federal
                                award as a recipient or subrecipient.
Participant                     Generally, an individual participating in or attending program activities
                                under a federal award, such as trainings or conferences, but who is not
                                responsible for implementation of the federal award. Individuals
                                committing effort to the development or delivery of program activities
                                under a federal award such as consultants, project personnel, or staff
                                members of a recipient or subrecipient are not program participants.

                                Examples may include community members attending a community
                                outreach program, members of the public whose perspectives or input
                                are sought as part of a program, students, or conference attendees.
Participant Support Costs       Direct costs that support participants and their involvement in a federal
                                award, such as stipends, subsistence allowances, travel allowances,
                                registration fees, temporary dependent care, and per diem paid directly
                                to or on behalf of participants.
Period of Performance           The time interval between the start and end date of a federal award. It
(POP)                           is the time during which the recipient must perform and complete the
                                work authorized under the federal award. Only costs associated with
                                approved activities incurred during this period and approved
                                administrative closeout costs can be charged to the award.
Personally Identifiable         Information that can be used to distinguish or trace an individual's
Information (PII)               identity, either alone or when combined with other personal or
                                identifying information that is linked or linkable to a specific individual.
                                The definition of PII is not attached to any single category of information

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Term                             Definition
                                 or technology. Instead, it requires a case-by-case assessment of the
                                 specific risk that an individual can be identified.

                                 Examples of PII include but are not limited to social security numbers;
                                 passport numbers; credit card numbers; clearances; bank numbers;
                                 biometrics; date and place of birth; mother's maiden name; criminal,
                                 medical and financial records; and educational transcripts.
Project Cost                     Total allowable costs incurred under a federal award and all cost
                                 sharing, including third-party contributions.
Recipient                        An entity that receives a federal award directly from a federal agency to
                                 carry out an activity under a federal program. The term recipient does
                                 not include subrecipients or individuals that are program participants
                                 and beneficiaries of the award.
Source Documentation             Documentation that provides evidence that expenditures allocable to an
(Financial Management)           award were incurred and paid during the approved period of
                                 performance. Source Documentation includes receipts, invoices,
                                 contracts, copies of cancelled checks, transaction reports, bank
                                 statements, charge/debit card statements, and in-kind contribution
                                 reports. All source documentation must specifically identify the
                                 expenditures.
Supply                           All tangible personal property other than those described in the
                                 equipment definition. A computing device is a supply if the acquisition
                                 cost is below the lesser of the capitalization level established by the
                                 recipient or subrecipient for financial statement purposes or $10,000,
                                 regardless of the length of its useful life.
System for Award                 Federal repository into which a recipient must provide the information
Management (SAM.gov)             required for the conduct of business as a recipient.
Termination                      An action a federal agency takes to discontinue a federal award, in
                                 whole or in part, at any time before the planned end date of the period
                                 of performance. Termination does not include discontinuing a federal
                                 award due to a lack of available funds.
Third-party In-Kind              The value of services and property donated to the recipient and used to
Contributions                    meet cost sharing requirements. Volunteer services furnished by third-
                                 party professional and technical personnel, consultants, and other labor
                                 may be counted as cost sharing if the service is necessary for the
                                 program. Donated property from third parties may include items such as


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 Term                          Definition
                               equipment, venue space, office supplies, or workshop and classroom
                               supplies necessary to carry out the NEA-supported project.
 Unique Entity Identifier      The universal identifier assigned by SAM.gov to uniquely identify an entity.
 (UEI)
 Unrecovered Indirect Costs    The difference between the amount of indirect costs charged to the federal
                               award and the amount which could have been charged to the federal award
                               under the recipient’s Negotiated Indirect Cost Rate Agreement.



5. SAM.gov Required Registration (2 CFR 25)

2 CFR 25 provides guidance on requirements for applicants, recipients, and subrecipients to obtain a
unique entity identifier (UEI), as required by the Federal Funding Accountability and Transparency Act
(P.L. 109-282, 9/26/2006), and for entities to register in the System for Award Management (SAM.gov)
repository for standard information about applicants and recipients. See APPENDIX B: PART 25
AWARD TERM - SAM.GOV AND UEI REQUIREMENTS for more information about this term of your
award.

NOTICE: You must maintain a current and active registration in SAM.gov until you submit all final
reports required under this federal award or receive the final payment, whichever is later.

   1. The NEA may not issue a federal award or amend an existing federal award to provide
      additional federal funds if the entity is not in compliance with the requirements to maintain an
      active registration with SAM.gov. The NEA will withdraw any funding offers and reject the
      application(s) of any applicant that has an inactive SAM.gov registration as of September 1 of
      the current federal fiscal year (2 CFR 25.205).

   2. The NEA may not issue a federal award or amend an existing federal award to provide
      additional federal funds when SAM.gov shows that the entity has delinquent federal debt. The
      NEA will withdraw any funding offers and will reject the application(s) of any applicant that
      has a YES in the Delinquent Federal Debt Indicator in their SAM.gov registration as of
      September 1 of the current federal fiscal year (OMB Circular A-129).

   3. The NEA will not release award funds if the entity is not in compliance with the requirement to
      maintain an active registration with SAM.gov or has delinquent federal debt. Failure to resolve
      the delinquent federal debt or obtain an active SAM registration within 150 days after the
      end date of the period of performance for the award will result in de-obligation of any funds


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       remaining on the award (2 CFR 25.205). See Closeout, Adjustments, and Continuing
       Responsibilities for more information.


6. Mandatory Disclosures (§ 200.113)

Applicants and recipients of a federal award must promptly disclose whenever, in connection with the
federal award, it has credible evidence of the commission of a violation of federal criminal law
involving fraud, conflict of interest, bribery, or gratuity violations found in Title 18 of the United States
Code or a violation of the civil False Claims Act (31 U.S.C. 3729-3733).

Recipients are required to report matters related to recipient integrity and performance in accordance
with Appendix XII to Part 200. You are also required to provide this as a written disclosure to the NEA
Office of Grants Management at grants@arts.gov and the NEA Office of Inspector General at
oig@arts.gov.

Failure to make required disclosures can result in any of the remedies described in Section 20.
Remedies for Noncompliance and Termination. (See also § 200.339, 2 CFR Part 180, 31 U.S.C. 3321,
and 41 U.S.C. 2313.)


7. Conflicts of Interest (§ 200.112 and .318(c)) and Related Mandatory Disclosures (§
200.113)

You must have written conflict of interest policies that ensure all employees, board members, officers,
or agents engaged in the administration of federal grants and cooperative agreements, avoid conflicts
of interest. Your standards of conduct must provide for disciplinary actions to be applied for violations
by employees, officers, agents, or board members.

You must maintain written standards of conduct covering conflicts of interest and governing the
actions of your employees engaged in the selection, award, and administration of contracts supported
by the federal award. No employee, officer, agent, or board member with a real or apparent conflict of
interest may participate in the selection, award, or administration of a contract supported by the NEA
award. A conflict of interest includes when the employee, officer, agent, or board member, any
member of their immediate family, their partner, or an organization that employs or is about to
employ any of the parties indicated herein, has a financial or other interest in or a tangible personal
benefit from an entity considered for a contract. An employee, officer, agent, and board member of



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the recipient may neither solicit nor accept gratuities, favors, or anything of monetary value from
contractors.

If your organization has a parent, affiliate, or subsidiary organization that is not a State, local
government, or Indian Tribe, you must also maintain written standards of conduct covering
organizational conflicts of interest. Organizational conflicts of interest mean that because of
relationships with a parent company, affiliate, or subsidiary organization, the recipient is unable or
appears to be unable to be impartial in conducting a procurement action involving a related
organization.

Recipients are required to disclose to us any actual or potential conflicts, including but not limited to
the following:

   •   NEA Panelist. Any individuals who serve as NEA panelists cannot review an application from an
       organization with which they are affiliated as an employee, board member, officer, or agent. If
       a panelist later becomes associated with an award project that they reviewed, then that
       individual cannot act as an Authorizing Official for that award. This prohibition is in effect
       throughout the entire period of performance for the award. Recipients must disclose any
       affiliations with an NEA panelist to the as soon as they become aware of the affiliation.
   •   National Council on the Arts member. Recipients must disclose whether any of their personnel
       are National Council on the Arts Members. Once an Authorizing Official, Project Director, or
       Grants Administrator for an applicant or recipient organization is nominated to the National
       Council on the Arts, that individual must recuse themselves from deliberating or voting on that
       organization’s application and award actions, and from submitting payment requests on that
       organization’s behalf. Recipients must disclose any affiliations with National Council on the Arts
       member to the NEA as soon as they become aware of the affiliation.


8. Whistleblower Protection (§ 200.217)

An employee of a recipient must not be discharged, demoted, or otherwise discriminated against as
reprisal for disclosing information that the employee reasonably believes is evidence of gross
mismanagement of a federal contract or grant, a gross waste of federal funds, an abuse of authority
relating to a federal contract or grant, a substantial and specific danger to public health or safety, or a
violation of law, rule, or regulation related to a federal contract or grant.

Recipients must inform their employees in writing of employee whistleblower rights and protections
under 41 U.S.C. 4712.

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9. Statutory and National Policy Requirements (§ 200.300 and .209)

Recipients are responsible for complying with all requirements of the federal award, including those
based on the following:

Statutory Policy Requirements (§ 200.300(a)). Recipients are required to ensure that federal funding is
expended, and programs are in full accordance with the U.S. Constitution, applicable federal statutes,
and regulations—including provisions protecting free speech, religious liberty, public welfare, and the
environment, and those prohibiting discrimination, including those in general appropriations
provisions.

NEA’s Enabling Legislation. Recipients are required to execute their projects in accordance with the
NEA’s enabling legislation that requires "artistic excellence and artistic merit." Projects or programs
that are determined to be obscene are without artistic merit and shall not be funded. 20 U.S.C. 952(j)-
(l); 20 U.S.C. 954(d) and (l).

Financial Assistance General Certifications and Representations (§ 200.209 and .415). Applicants for
and recipients of federal financial assistance are required to complete and agree to the Financial
Assistance Certifications in SAM.gov when registering or renewing a registration. The Representations
and Certifications (Reps and Certs) are a common set of certifications and representations required by
federal statutes or regulations in accordance with the guidance under 2 CFR 200. Applicants and
recipients must keep these certifications and representations current, accurate, and complete as part
of their SAM.gov entity registration.

Final Financial Report and other Financial Reports Certifications (§ 200.415). Only an official at the
recipient organization who is authorized to legally bind the organization may submit financial reports,
including the Final Financial Report. Electronic submission of a financial report through the REACH
system constitutes signing the certification. The official must agree to the following certification:

       By signing this report, I certify to the best of my knowledge and belief that the report is true,
       complete, and accurate, and the expenditures, disbursements and cash receipts are for the
       purposes and objectives set forth in the terms and conditions of the Federal award. I am aware
       that any false, fictitious, or fraudulent information, or the omission of any material fact, may
       subject me to criminal, civil or administrative penalties for fraud, false statements, false claims
       or otherwise. (U.S. Code Title 18, Section 1001 and Title 31, Sections 3729-3730 and 3801-3812).

See Appendix A for more details regarding these statutory and national policy requirements. See 17:
Performance and Financial Reporting for additional information.

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10. Financial Management (§ 200.302) and Internal Controls (§ 200.303)

Financial Management
The recipient’s financial management system, including records documenting compliance with federal
statutes, regulations, and the terms and conditions of your NEA award must be sufficient to allow for
the preparation of reports and to track project expenditures to verify that the award funds and
required cost share funds were used in accordance with the NEA’s legislation, federal statutes,
regulations, and the terms and conditions of the award. Required reports include payment requests,
annual financial reports (if applicable), the Final Financial Report, and any other report indicated in the
terms and conditions of your award.

Financial management systems must meet standards described in § 200.302, including:

   •   Identification of all federal awards received and expended and the federal programs under
       which they were received. Federal program and federal award identification must include, as
       applicable, the Assistance Listings title and number, federal award identification number, year
       the federal award was issued, and name of the federal agency.
            o You can find these award details on the Official Notice of Action document in the
                Documents tab for the award in REACH.
   •   Accurate, current, and complete identification of federal award data, financial results, and the
       ability to provide source documentation upon request.
   •   All records must be supported by source documentation.
   •   Written procedures for determining the allowability of costs and for managing payments.

In addition, recipients that are units of State governments must expend and account for the federal
award in accordance with State laws and procedures for expending and accounting for the State's
funds.

Internal Controls
Recipients must establish, document, and maintain effective internal controls over the federal award
and provide reasonable assurance that the recipient is managing the award in compliance with federal
statutes, regulations, and the terms and conditions of the federal award. See recommended
compliance guidance regarding documenting internal controls at § 200.303. Recipients must take
prompt action when instances of noncompliance are identified.

Cybersecurity. Recipients must take reasonable cybersecurity and other measures to safeguard
information including protected personally identifiable information (PII) and other types of
information. This also includes information the federal agency designates as sensitive or other

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information the recipient considers sensitive and is consistent with applicable federal, State, local, and
tribal laws regarding privacy and responsibility over confidentiality.


11. Cash Management Standards / Federal Payment (§ 200.305)

Recipients must have written procedures to minimize the time elapsing between the receipt of federal
award funds and the disbursement of federal award funds to avoid having excessive federal funds on
hand. The recipient must make timely payments to contractors in accordance with the contract
provisions.

The NEA will withhold payments if:

           •    The recipient has failed to comply with the terms and conditions of the federal award,
           •    The recipient is delinquent in a debt to the United States, or
           •    The recipient notifies the NEA that it is withholding payments from contractors to
                assure satisfactory completion of work on the award.

Payment Requests. Requests for advance payment are limited to a recipient’s immediate cash
requirements in carrying out the purpose of your approved project and are not to exceed anticipated
expenditures for a 30-day period (§ 200.305(b)(1)). This 30-day period starts with the date you submit
the payment request in REACH. Any funds requested from the NEA and not liquidated within 30 days
must be returned to us. See the How to Manage Your NEA Award Handbook for instructions on
returning funds.

Payments to States. For recipients that are units of State government, payments are governed by
Treasury-State Cash Management Improvement Act (CMIA) agreements and default procedures
codified at 31 CFR 205 and Treasury Financial Manual (TFM) 4A-2000, “Overall Disbursing Rules for All
Federal Agencies.”


12. Cost Sharing (20 U.S.C. 954(e) and § 200.306) and Program Income (§ 200.307)

Unless otherwise stated in your award documents, NEA funds cannot exceed 50 percent of the total
cost of the NEA-supported project (20 U.S.C. 954(e)). NEA funding requires a one-to-one or "dollar for
dollar” cost share. This required cost share refers to the portion of project costs not paid by federal
funds, and may include your own funds, donations, non-federal grants, and other revenue.



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The NEA notifies you of the required cost share for your award in the Cost Share section of the Terms
and Conditions document on the Documents Tab for the award in REACH.

Important:

   •   All costs in your project budget, whether supported by NEA funds or the cost share, must
       conform to all the requirements of the federal award and must be verifiable in your records.
       This includes costs covered by voluntary committed cost share.
   •   You cannot include costs from your NEA-funded project budget in other federal awards,
       including other NEA awards.
   •   All costs included in your NEA-funded project budget must be necessary and reasonable for
       achieving the objectives of your NEA award and allowable per the NEA’s legislation, relevant
       NEA program guidelines, and the §200 Cost Principles.

Use of Unrecovered Indirect Costs as Cost Share (§ 200.306(c)). Unrecovered indirect costs may only
be included as cost share for an award if the recipient has a current Negotiated Indirect Cost Rate
Agreement (NICRA) with a federal agency. See Section 4: Selected Definitions for more information.

Use of Program Income (§ 200.307). Income earned during the period of performance that results
from activities supported through a NEA award is program income. These earnings can include, but are
not limited to, income from fees for services, admission fees, or the use or rental of property.

The NEA allows program income to be used as part of the cost share for allowable expenses of the
NEA-supported project, or for other eligible projects in the arts conducted by your organization (§
200.307(b) and (b)(3).

IN-KIND COST SHARE
A recipient may use in-kind third-party (i.e., not your own) contributions of services and property to
meet the required cost share for the award. While you may use in-kind contributions to meet the
required cost share for an award, the NEA cannot reimburse you for goods or services provided to you
as an in-kind contribution (§ 200.306(d)-(j).

All third-party in-kind contributions must also be included as direct costs in the project budget so the
NEA can determine their allowability and necessity to the project. All third-party in-kind contributions
of services, goods, property, or space must be documented in your financial management system, be
supported by source documentation, and have their fair market value determined as described below.




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Donated property. The value of donated space must not exceed the fair rental value of comparable
space as established by an independent appraisal of comparable space and facilities in a privately-
owned building in the same locality. Donated property from third parties may include items such as
equipment, office supplies, or workshop and classroom supplies. The assessed value of donated
property included as cost sharing must not exceed the property's fair market value at the time of the
donation.

Volunteer services furnished by third-party professional and technical personnel, consultants, and
other labor. These services may be counted as cost sharing if the service is necessary for the NEA
project. Rates for third-party volunteer services must be consistent with those paid for similar work by
the recipient. When the required skills are not found in the recipient's workforce, rates must be
consistent with those paid for similar work in the labor market where the recipient competes for the
services involved. Fringe benefits that are allowable, allocable, and reasonable may be included in the
valuation.

Volunteer services furnished by employees of a third-party organization. When a third-party
organization furnishes the services of an employee, these services must be valued at no greater than
the employee's regular rate of pay plus an amount of fringe benefits that is reasonable, necessary,
allocable, and otherwise allowable, and indirect costs at either the third-party organization's approved
federally-negotiated indirect cost rate or, a rate in accordance with § 200.414(d) provided these
services employ the same skill(s) for which the employee is normally paid. Where donated services are
treated as indirect costs, indirect cost rates will separate the value of the donated services so that
reimbursement for the donated services will not be made.

Ineligible Cost Share Sources (§ 200.306 and .403). Recipients may not use these sources to meet the
cost share requirement for an award:

   •   Other federal funds. This includes other NEA funds (§ 200.306(b)(5)). This also includes federal
       funds that have been sub-awarded or disbursed to you from a State Arts Agency, Regional Arts
       Organization, or another organization. Consult your other funders to determine if their funding
       to you includes federal funds.
   •   Cash funding and/or third-party in-kind contributions used as cost share for another NEA
       award or another federal program/award (§ 200.306(b)(2) and .403(f)).
   •   Contributions or gifts to your organization that are restricted and cannot be used to support
       the project. This includes gifts (bequeathed or otherwise) which are not available to your
       organization for use during the award’s period of performance.




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13. General Procurement Standards (§ 200.317-.327)

States and Tribal Entity Recipients. A State or Indian Tribe must follow the same policies and
procedures that you use for procurements with non-federal funds. If such policies and procedures do
not exist, then you must follow the procurement standards in § 200.318 through .327. In addition to
your own policies and procedures, States or Indian Tribes must also comply with the procurement
standards in § 200.321 through .323, and .327.

All Other Recipients. All other recipients and subrecipients must follow the procurement standards in
§ 200.318 through .327.

Documented procurement procedures. You must maintain and use documented procedures for
procurement transactions under a federal award, including for acquisition of property or services.
These documented procurement procedures must be consistent with State, local, and tribal laws and
regulations and the standards identified in § 200.317 through .327. The NEA may ask to review your
procurement policy, plans, and other documents such as requests for proposals and independent cost
estimates.

Oversight of contractors. Recipients must maintain oversight to ensure that contractors perform in
accordance with the terms, conditions, and specifications of their contracts or purchase orders. See §
200.501(h) for more information.

Avoidance of unnecessary or duplicative items. Your procedures must avoid the acquisition of
unnecessary or duplicative items. You should consider consolidating or breaking out procurements to
obtain a more economical purchase. When appropriate, you should conduct an analysis comparing
leasing and purchasing equipment to determine the most economical approach.

Responsible contractors. You must award contracts only to responsible contractors that possess the
ability to perform successfully under the terms and conditions of a proposed contract. You must
consider contractor integrity, public policy compliance, proper classification of employees (see the Fair
Labor Standards Act, 29 U.S.C. 201, chapter 8), past performance record, and financial and technical
resources when conducting a procurement transaction. See also § 200.214.

Procurement records. You must maintain records sufficient to detail the history of each procurement
transaction. These records must include the rationale for the procurement method, contract type
selection, contractor selection or rejection, and the basis for the contract price.




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Settlement of contractual and administrative issues. You are responsible for the settlement of all
contractual and administrative issues arising out of your procurement transactions. These issues
include, but are not limited to, source evaluation, protests, disputes, and claims.

Competition (§ 200.319). You must conduct all procurement transactions under an NEA award in a
manner that provides full and open competition and is consistent with the standards of § 200.319 and
.320. You are encouraged to consider small businesses, minority businesses, women’s business
enterprises, veteran-owned businesses, and labor surplus area firms for procurement contracts under
a federal award. (§ 200.321(a))

Procurement methods (§ 200.320). There are three types of procurement methods:

       1. Informal procurement methods for micro-purchases and simplified acquisitions,
       2. Formal procurement methods through sealed bids or proposals, and
       3. Noncompetitive procurement methods.

For any of these methods, you must maintain and use documented procurement procedures,
consistent with the standards of § 200.317 through .320.

You can access the Federal Acquisition Regulation (FAR) at
https://www.acquisition.gov/browse/index/far for more information and for procurement thresholds.
Note that the thresholds are subject to change, so you should use the thresholds in place at the time
of your procurement action.

Informal Procurement Methods. You may use informal procurement methods when the value of the
procurement transaction under the federal award does not exceed the simplified acquisition threshold.
Recipients may also establish a lower threshold. You may be able to take advantage of the flexibilities
found by using informal procurement methods such as:

   •   Micro-purchases. (§ 200.320(a)(1)) and the Federal Acquisition Regulation (FAR) at 48 CFR Part
       2, subpart 2.1). For the micro-purchase threshold, you may self-certify a threshold up to
       $50,000 on an annual basis and must maintain and make documentation available to the NEA
       and auditors in accordance with § 200.334. The self-certification must include a justification,
       clear identification of the threshold, and supporting documentation.

       You may award micro-purchases without soliciting competitive price or rate quotations if you
       consider the price reasonable based on research, experience, purchase history, or other
       information; and maintain documents to support this conclusion.

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   •   Simplified acquisitions (§ 200.320(a)(2)) and the FAR at 48 CFR part 2, subpart 2.1.) You may
       use this method when the aggregate dollar amount of your procurement transaction is higher
       than the micro-purchase threshold but does not exceed the simplified acquisition threshold in
       the FAR. You are responsible for determining an appropriate simplified acquisition threshold
       based on internal controls, an evaluation of risk, and your documented procurement
       procedures, which may be lower than, but must not exceed, the threshold established in the
       FAR.

Formal procurement methods. You are required to use formal procurement methods when the value
of the procurement transaction under an NEA award exceeds the simplified acquisition threshold of
your organization. Formal procurement methods are competitive and require public notice. Refer to §
200.320 (b) for formal procurement methods.

Noncompetitive procurement. You may only use the noncompetitive procurement method if one of
the following circumstances applies:

   •   The aggregate amount of the procurement transaction does not exceed the micro-purchase
       threshold.
   •   The procurement transaction can only be fulfilled by a single source.
   •   The public exigency or emergency for the requirement will not permit a delay resulting from
       providing public notice of a competitive solicitation.
   •   You request in writing to use a noncompetitive procurement method, and the NEA provides
       written approval. The NEA may request further information in support of any such request.
   •   After soliciting several sources, competition is determined inadequate.

Buy American Act (41 U.S.C. 8301-8305) and Domestic Preference for Procurement (§ 200.322)
You are strongly encouraged to purchase American-made equipment in accordance with the Buy
American Act. Furthermore, you should, to the greatest extent practicable and consistent with law,
provide a preference for the purchase, acquisition, or use of goods, products, or materials produced in
the United States. (§ 200.322(a))


14. Cost Principles (Part 200 – Subpart E)

The allowability of costs under your NEA award is determined in accordance with the NEA’s legislation
and appropriate NEA program guidelines or program solicitation, and the cost principles. All costs


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included in your approved project budget and on payment requests and financial reports for the
award, whether supported with NEA funds or cost share funds, must be:

   •   Necessary and reasonable for the performance of the federal award (§ 200.403(a)).
   •   Allocable and in conformance with these cost principles and as set forth in the award (§
       200.403(b)).
   •   Consistent with written policies and procedures that apply uniformly to both federally financed
       and other activities of the recipient (§ 200.403(c)).
   •   Accorded consistent treatment as either a direct or indirect cost (§ 200.403(d)).
   •   Determined in accordance with generally accepted accounting principles (GAAP) (§ 200.403(e)).
   •   Not included as a cost or used to meet cost sharing requirements of any other federally
       financed program (§ 200.403(f)).
   •   Adequately documented for reporting and audit purposes (§ 200.403(g)).
   •   Incurred during the approved period of performance and budget period (§ 200.403(h)).

Where the determination of cost allowability differs, the NEA program guidelines, GTCs, and any
specific terms and conditions, as appropriate, take precedence over § 200.

UNALLOWABLE COSTS
You should refer to the program guidelines applicable to your award for the full list of unallowable
costs and activities. The following is a selection of common costs that are unallowable based on NEA
legislation and policy:

   •   Awards to individuals or organizations to honor or recognize achievement (P.L. 111–88,
       October 30, 2009, Sec. 438 (2)).
       o Stipends and fees for individuals or organizations who provide services or goods to you
           under the federal award are allowable.
   •   Cash reserves and endowments (NEA guidelines).
   •   Construction, purchase, or renovation costs of facilities or land (NEA guidelines).
       o Costs associated with design fees, preparing space for an exhibit, installation or de-
           installation of art, and community planning are allowable.
   •   Costs to bring a project into compliance with federal award requirements (NEA guidelines).
   •   Compensation to foreign nationals, including travel to or from foreign countries, when those
       expenditures are not in compliance with regulations issued by the U.S. Treasury Department
       Office of Foreign Assets Control (OFAC Sanctions/NEA guidelines).
   •   Subgranting or re-granting (P.L. 111–88, October 30, 2009, Sec. 438 (2)).
   •   Gifts and prizes, including cash prizes as well as other items with monetary value (e.g.,
       electronic devices, gift certificates). (NEA guidelines)

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   •   The purchase of vehicles such as cars, vans, buses, trucks, and sport utility vehicles. (NEA
       guidelines).
   •   Visa costs paid to the U.S. Government (P.L. 109-54, Title III General Provisions, Sec. 406).
       o Costs associated with preparing material for submission for a visa is allowable.

ALLOWABILITY OF COMMON COSTS (§ 200.420 through 476)
Pre-Award Costs. The NEA does not approve costs incurred prior to the start date of the period of
performance. Do not include these costs in your project budget or subsequent financial reports for
your award (§ 200.308(g)(1)).

Administrative Closeout Costs. Administrative closeout costs may be included in your project budget.
and incurred until the due date of the final report(s). You must liquidate these costs prior to the due
date of the final report(s) (§ 200.472). Allowable costs include salaries of personnel preparing final
reports, costs associated with the disposition of equipment and property, and related indirect costs.

Participant support costs (§200.456). Participant support costs must be documented in your policies
and procedures and treated consistently. Allowable costs include stipends, subsistence allowances,
travel allowances, registration fees, temporary dependent care and per diem paid directly to or on
behalf of program participants participating in or attending program activities under a federal award
such as trainings or conferences, but who are not committing effort to the development or delivery of
program activities under the award.

   •   Consultants, project personnel, and staff members of a recipient organization are not program
       participants.
   •   Direct costs that support participants’ temporary dependent care needs (dependent is defined
       in 26 U.S.C. 152) to participate in or attend a program activity under an NEA award are
       allowable, as long as the classification of items as participant support costs are documented in
       the recipient’s written policies and procedures and treated consistently across all federal
       awards.

Conferences (§ 200.432). A conference is an event whose primary purpose is dissemination of
technical information beyond the recipient. Conference hosts/sponsors must exercise discretion and
judgment in ensuring that conference costs are appropriate, necessary, and managed to minimize
costs to the award. Allowable costs include the rental of facilities, speakers' fees, attendance fees,
costs of meals and non-alcoholic refreshments, local transportation, and other items incidental to such
conferences unless further restricted by the terms and conditions of the federal award. This includes
the costs of identifying and providing locally available dependent-care resources for program
participants as needed. Refer to Section 15: Travel for more information.


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       •   Costs associated with social activities and entertainment activities at a conference such as
           closing dinners or receptions are unallowable. Entertainment, gifts, and prizes are also
           unallowable.

Contingency provisions (§ 200.433). Contingency provisions are estimates of future costs associated
with events/conditions that may occur and which are indeterminable at the time a project budget is
submitted. You may include contingency amounts for specific items of cost if the amount is estimated
using broadly accepted cost estimating methodologies and specified in award budget (e.g., production
contingency). To be allowable, these amounts must comply with the cost principles, be necessary and
reasonable for the accomplishment of project objectives and be verifiable from your records.

   •   Contingency amounts for major project scope changes, unforeseen risks, or extraordinary
       events are unallowable and cannot be included in the project budget.

Entertainment (§ 200.438). Costs associated with amusement, diversion, and social activities are
unallowable. Activities such as receptions, parties, galas, dinners, and other community social
gatherings are unallowable. This includes costs such as catering, gifts, and gift cards, as well as costs for
the planning, staffing, and supplies for the activities. Generally, this also includes activities at venues
such as bars, wineries, and breweries where the consumption of alcohol/social activity is the primary
purpose of the venue (NEA guidelines).

   •   Alcoholic beverages are unallowable.

Fundraising (§ 200.442). A percentage of salaries and fringe benefits for development or fundraising
staff, or fees to contractors, to raise funds used as cost share for the NEA project during the period of
performance are allowable. Costs related to development/fundraising staff time and effort spent
managing the NEA award are also allowable.

   •   Costs of fundraising to benefit the general operations of the recipient are unallowable. This
       may include costs related to financial campaigns, endowment drives, solicitation of gifts and
       bequests, or similar expenses incurred to raise capital or obtain contributions.
   •   Costs for events or other activities that are only open to donors are also unallowable.

Rental costs of real property for home office workspace (§ 200.465(f)). Rental of any property owned
by any individuals or entities affiliated with the recipient, including commercial or residential real
estate, for purposes such as a home office is unallowable.




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Publication and printing costs (§ 200.461) Costs related to the development and production of items
as part of the approved NEA project activity (e.g., publishing books or exhibition catalogues, or making
recordings or films for distribution) and incurred during the period of performance are allowable. (§
200.461)

Selling and marketing costs (NEA guidelines, § 200.467, § 200.421(e)(3)).
Costs of selling and marketing any products or services of the recipient are unallowable. This includes
costs of goods for resale such as the sale of concessions, promotional merchandise, food and/or
beverages, T-shirts or other clothing, artwork, or other items for resale. This includes items sold via
online or virtual sales/shops and at art markets. It also includes any staffing, technology, or facilities
costs related to retail activities.

Prohibited telecommunications and video surveillance services and equipment (§ 200.216 and .471;
P. L. 115-232, section 889). You may not buy or obtain, nor extend or renew a contract for, covered
telecommunications and video surveillance services and equipment that is prohibited by P. L. 115-232,
section 889.

INDIRECT COSTS (§ 200.414)
Recipients may claim indirect costs based on the following:

   •   Negotiated Indirect Cost Rate Agreement (NICRA). A current and appropriate NICRA
       negotiated with your federal cognizant agency; or,
   •   De Minimis Rate. A recipient that does not have a current NICRA (including provisional rate)
       may elect to charge a de minimis rate of up to 15% of modified total direct costs (MTDC) in
       their project budget.
           o When applying the de minimis rate, costs must be consistently charged as either direct
               or indirect costs and may not be double charged or inconsistently charged as both.
           o The de minimis rate does not require documentation to justify its use and may be used
               indefinitely. Once elected, you must use the de minimis rate for all federal awards for
               which you elect to charge indirect costs until you request and receive a negotiated rate
               (§ 200.414(f)).

Research Indirect Cost Rates. If you are claiming indirect costs under a NICRA, indirect cost rates
applicable to research generally can only be used in project budgets for the NEA’s Office of Research &
Analysis (ORA) awards. You must use rates applicable to other activities for most NEA awards. Refer to
the NEA guidelines applicable to your program, taking into account your own institutional guidance.




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You cannot claim both direct overhead/administrative costs and indirect costs in your NEA project
budget.

Resources. More information about indirect costs for a NEA award can be found in the How to Manage
Your NEA Award Handbook and the Indirect Cost Guide on the NEA’s website.


15. Travel (§ 200.475 and 41 CFR 301-10)

Travel costs include transportation, lodging, subsistence, and related items incurred by the recipient’s
employees who are in travel status on official business attributable to work under a federal award. You
may charge these costs on an actual cost basis, on a per diem or mileage basis, or on a combination of
the two, provided the method used is applied to an entire trip and not to selected days of the trip. The
method used must be consistent with those normally allowed in like circumstances in the recipient's
other activities and in accordance with your established written policies.

For travel costs you charge to the NEA award, source documentation must justify that participation of
the individual is necessary for the federal award, and that the costs are reasonable and consistent with
your established written policy.

Commercial Air Travel (§ 200.475(e)). Airfare costs, whether domestic or foreign, in excess of the basic
least expensive unrestricted accommodations class offered by commercial airlines are unallowable,
except when such accommodations would:

       •   Require circuitous routing.
       •   Require travel during unreasonable hours.
       •   Excessively prolonged travel.
       •   Result in additional costs that would offset the transportation savings; or
       •   Offer accommodations not reasonably adequate for the traveler's medical needs.

You must justify and document these conditions on a case-by-case basis for the use of first-class or
business-class airfare to be allowable in such cases.

Fly America Act (41 CFR 301-10.131 through .143). You are required to follow the provisions of the Fly
America Act (49 U.S.C. 40118). All air travel and cargo transport services funded by NEA funds or cost
share funds must use a U.S. flag air carrier or a foreign airline under an air transport agreement
(codeshare agreement) with the United States when these services are available. To comply with Fly



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America regulations, you must purchase the flight via the U.S. airline’s designator and flight number if
the flight is shared between a U.S. and a foreign airline.

There are some exceptions to the Fly America Act, see 41 CFR 301-10.135 through .138. If you do use a
foreign airline, you must provide the NEA with a certification, including a justification as to why your
travel met one of the exceptions. Ticket cost, convenience, or traveler preference are not exceptions to
the Fly America Act. Additional information may be requested, if necessary.

Foreign Travel. Foreign travel is any travel outside the United States, its territories, and possessions.
For foreign travel not originally identified and approved in your award budget, you must request prior
written approval from the Office of Grants Management before travel is undertaken.


16. Changes in Your Project: Amendments (§ 200.308)

You are required to conduct your project consistent with the application and proposal that the NEA
approved for funding. The approved budget for your NEA award summarizes the financial aspects of
the project or program as approved during the federal award process. It includes the federal share of
project costs and non-federal cost share.

NOTICE
The NEA Office of Grants Management is the only office with the authority to issue or amend an NEA
award. Written and/or verbal approval of proposed changes to an award from any other NEA office
does not constitute an approved change to the award.

The NEA considers all amendment/change requests on a case-by-case basis, and approval is not
guaranteed. Until you receive written approval from the Office of Grants Management, you may only
incur costs consistent with the terms and conditions of the award in effect at the time of your request.
You can find detailed information about how to request changes to your award in the How to Manage
Your NEA Award Handbook on the NEA website.

The NEA has the right to request additional information, such as updates on specific project activities,
including a revised budget or an itemized list of actual expenditures, as needed. If your organization is
undergoing an audit by the NEA Inspector General's office, the NEA Office of Grants Management will
review any amendment requests to the award(s) in question in conjunction with the audit resolution
process.




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CHANGES THAT REQUIRE PRIOR WRITTEN APPROVAL
You must request prior written approval from the Office of Grants Management for the following
changes to your approved award:

Project scope changes (§ 200.308(f)(1)). These include changes to the approved project activities,
focus of the project’s content, significant changes in targeted participants, and changes in the breadth
or impact of projects. Scope changes also include:

   •   Changes in artists or key partners, if you identified them as confirmed artists or partners in your
       application or approved project budget.
          o You must submit a short biography for each new proposed artist along with your change
              request.
          o Festival artist substitutions do not require a scope change unless you are making a
              change to the festival’s headline artists.

   •   Changes to your project activities, including outdoor activities and activities that cause a ground
       disturbance, that may impact historic properties or the environment.
           o You must complete and submit the NHPA/NEPA Questionnaire along with your change
              request.
   •   Changes in the primary partner for Our Town awards or other NEA funding opportunities which
       require primary partners.
   •   Changes in key personnel identified by name or position in Research Grants in the Arts,
       Research Labs, or other awards managed by the NEA Office of Research & Analysis (ORA). For
       these awards, you must also notify the NEA if there is a disengagement from the project for
       more than three months, or a 25% reduction in time and effort devoted to the award over the
       course of the period of performance, by the approved project director or principal investigator.

Budget revisions (§ 200.308(b)(c)(f) and § 200.407). These include:

   •   Budget changes due to a significant change in the scope of the NEA-supported project.
   •   Adding permanent equipment.
   •   Adding foreign travel.
   •   Adding indirect costs allowable under a Negotiated Indirect Cost Rate Agreement (NICRA) or
       the de minimis rate.

Pre-Award Costs. The NEA does not approve costs incurred prior to the start date of the period of
performance. Do not include these costs in your project budget or subsequent financial reports for
your award. (§ 200.308(g)(1))

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Period of performance changes/time extensions. If additional time is needed to complete your
approved project activities, you may request a change to the period of performance, including a new
start date (this date can be no earlier than the earliest allowable start date per the NEA’s guidelines)
and/or an extension to the end date. All requests for no-cost time extensions should be submitted as
soon as you are aware of the need for additional time (§ 200.308(f)(10)).

Final report extensions. If you completed all project activities and incurred all approved costs within
your period of performance, but need more time to prepare your final reports, you may request an
extension to the due date for your required reports. (§ 200.344 (b))

   •   You must request a final report extension if you are submitting a payment request with your
       final reports and your entity’s SAM registration is expired or if your SAM registration shows you
       have delinquent federal debt subject to offset. See the How to Manage Your NEA Award
       Handbook for additional information.

CHANGES THAT DO NOT REQUIRE PRIOR WRITTEN APPROVAL
Project scope changes, including:

   •   Changes in your organizational management/project administration, unless specified in your
       award document.
           o This does not apply to Research awards.
           o If there are significant changes to the leadership or senior staff of your organization
              and/or the project director, you must submit a personnel update. Refer to the How to
              Manage your NEA Award Handbook for details.
   •   Changes in artists, participants, or project partners not identified as committed/confirmed in
       the approved project.
   •   Addition or removal of auxiliary programming provided the activity is allowable and it does not
       impact the overall project scope.

Budget revisions, including:

   •   Transfers among previously approved direct cost line items.
            o This does not include transferring funds for foreign travel.
   •   Elimination of an allowable project cost that does not affect the scope of the award.
   •   Replacement of in-kind cost share with cash cost share if the source of the new cash cost share
       is allowable.



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Terminating/Declining an Award. You may decide to terminate or withdraw from the award. Please
see the How to Manage Your NEA Award Handbook for instructions and contact us at grants@arts.gov.


17. Performance and Financial Reporting (§ 200.328 through 344)

Refer to the How to Manage Your NEA Award Handbook and the Manage Your Award section of the
NEA website for more information on preparing and submitting your required payment progress
report, annual financial and performance reports (if applicable), and final reports specific to your
award.

Payment Progress Report (20 U.S.C. 954(j)). A progress report is required with your payment request
once the cumulative amount of NEA funds requested exceeds two-thirds of the NEA award amount.
This information is reported on the payment request form and must be approved before the NEA can
release any funds exceeding two-thirds of the NEA award amount. The progress report must include a
description of award-supported activities completed since the award’s period of performance start
date and those activities scheduled for the remainder of the period of performance.

Annual Financial Report (§ 200.328(b)). You must submit a financial report no less than annually. The
required reporting dates will be indicated on the Forms & Reports tab in REACH.

   •   For awards with a period of performance of 12 months or less, the Final Federal Financial
       Report submitted with your final reports will meet this requirement.
   •   For awards with a period of performance longer than 12 months, you must submit an Annual
       Financial Report no later than 90 days after each 12-month reporting period.
           o Example: An award with a period of performance from January 1, 2025, to December
               31, 2026, will have an Annual Financial Report due by March 31, 2026.
   •   The NEA may waive this requirement upon receipt of an acceptable payment request showing
       actual expenditures, including cost share funds, during the reporting period.

Annual Performance Progress Report (§ 200.328(c)). You must submit a performance progress report
no less than annually. The required reporting dates will be indicated on the Forms & Reports tab in
REACH.

   •   For awards with a period of performance of 12 months or less, the Final Descriptive Report
       submitted with your final reports will meet this requirement.
   •   For awards with a period of performance longer than 12 months, you must submit the Annual
       Performance Progress Report no later than 90 days after each 12-month reporting period.

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       Example: An award with a period of performance from January 1, 2025, to December 31, 2026,
       will have an Annual Performance Progress Report due by March 31, 2026.
   •   The NEA may waive this requirement upon receipt of an acceptable Payment Progress Report
       during the reporting period.

Specific Reporting Requirements (§ 200.208). The NEA may require you to submit certain information
before award funds are released. This information may include but is not limited to verification of
compliance with NEPA/NHPA requirements, a signed contract, in-kind documentation, an itemized list
of actual expenditures to date, receipts and invoices, or quarterly reports. In general, there will be a
specific term and condition indicating these additional award requirements in your award documents,
when applicable.

Final Reports (§ 200.328, .339 and .344). To close out your award you must submit the following
reports no later than 120 days after the period of performance end date:

   •   Final Descriptive Report (FDR) that provides us with information on the performance of your
       award activities and associated data,
   •   Final Financial Report (FFR),
   •   Geographic Location of Project Activities Report and,
   •   Product, if identified on the Report Schedule document and tab in REACH.

Monitoring and Reporting Program Performance (§ 200.329 (b- c)). You are responsible for oversight
of your NEA award. The approved project is expected to be completed by the end date of the period of
performance. The goals and performance of the project will be measured and evaluated against the
approved project activities as well as the requirements described in the NEA guidelines for your award.

You must monitor your project activities under the NEA award to ensure you are compliant with all
requirements and meeting performance expectations. (§ 200.329(a))

Significant Developments (§ 200.329(e)). When a significant development that could impact your
award occurs during the period of performance, you must immediately notify the NEA via REACH
Message in the award record or at grants@arts.gov. Significant developments include problems,
delays, or adverse conditions which will impact your ability to complete the project and meet the
objectives of the award. When reporting significant developments, you must include plans to correct
the issues or request a change to the scope, time, or budget of your award.




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Failure to Submit Required Reports (§ 200.344(h) and (i)). You are required to submit all final reports
within 120 days from the end date of the period of performance, or by the extended due date as
approved in writing by the Office of Grants Management.

There are severe consequences if you do not submit your final reports by the deadline, including:

   •   Failure to submit acceptable final reports for any award(s) renders you ineligible to receive NEA
       funding for five (5) years following the final report due date of the award(s) or until the
       delinquent final reports are submitted and accepted, whichever occurs first.
   •   Failure to submit acceptable final reports will also affect the NEA’s ability to release payments
       on any of your other open awards.
   •   The NEA may also pursue other enforcement actions per § 200.339 and .344(i).

Administrative Closeout and De-obligation. If final reports are still overdue 150 days after the end of
your award’s period of performance, any funds remaining on the award will be de-obligated by the
NEA and no longer available to you. This means you will not be able to submit payment requests to
draw down these funds. This 150-day deadline is known as the Delinquency Deadline date. The NEA
will also close out your award.

   •   If a final report extension was approved prior to the Delinquency Deadline date, you must
       submit acceptable final reports by the extended due date, or any remaining award funds will be
       de-obligated.

Material Failure to Comply. If you do not submit all required final reports within one year of the
approved period of performance end date, the NEA must report your material failure to comply with
the terms and conditions of the award to SAM.gov. (§ 200.340(a)(c)).


18. Property Standards: Use and Disposition (§ 200.310 through 316)

Artwork. Property may include commissioned, purchased, or fabricated artwork(s) approved under the
NEA award. It is your responsibility for maintaining and updating property records when there is a
change in the status of the property (§ 200.313 (d)).

Equipment (§ 200.1) includes tangible, nonexpendable, personal property having a useful life of more
than one (1) year and a per unit cost that equals or exceeds the lesser of the capitalization level
established by your organization, or $10,000. The NEA must approve equipment costs in your NEA
project budget.

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Disposition of Artwork and Equipment (§ 200.313(e) and (e)(1)). Unless otherwise specified, you will
have title to artwork and equipment commissioned, purchased, or fabricated under the award, without
further obligation to the federal government, if it will be used for activities similar to those approved
by the NEA. One example of similar activity is selling the artwork to another museum or visual art
center with the intention that it will be available to the public. It may not be de-accessioned to a
private collector where it would no longer be on view to the public.

Equipment with a current fair market value of $10,000 or less (per unit) may be retained, sold, or
otherwise disposed of with no further obligation to the NEA.

Supplies (§ 200.314). If there is a residual inventory of unused supplies exceeding $10,000 in total
aggregate value, including computing devices purchased for $10,000 or less per unit, you may retain
them without further obligation to the federal government, provided that they will be used for
activities similar to those approved by the NEA. (See Supply under Definitions for more information.)

Intangible Property (§ 200.315). You may copyright any material that is subject to copyright and was
developed, or for which ownership was acquired, under the NEA award during the period of
performance. For procedural information, visit the U.S. Copyright Office at www.copyright.gov.

The NEA reserves a royalty-free, non-exclusive, and irrevocable right to reproduce, publish, or
otherwise use work, as well as data, produced under a federal award for federal government purposes.
The NEA also has the right to authorize others to do the same (§ 200.315 (b), (d), and (e)).

The NEA strongly recommends that any publication that results from an NEA award be catalogued by
the Cataloging in Publication Program of the Library of Congress before final printing. This method of
cataloging enables libraries to acquire and process books quickly. Publishers that are ineligible for this
program may be eligible for the Library's Preassigned Control Number Program. Entering these titles in
a national bibliographic database leads to greater dissemination of publications. For procedural
information, visit the Library of Congress at http://www.loc.gov/publish/cip/.




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19. Record Retention (§ 200.334) and Access

You must retain financial records, supporting documents, statistical records, and all other recipient
records pertinent to a federal award for a period of three (3) years from the date of submission of the
Final Financial Report (FFR). Exceptions to this three-year period include if litigation, claim, or audit is
started before the expiration of the three-year period, or if the NEA notifies you in writing to extend
the retention period.

Methods for collection, transmission, and storage of information (§ 200.336). When practicable, the
NEA and the recipient must collect, transmit, and store federal award information in open and
machine-readable formats. A machine-readable format is a format in a standard computer language
(not English text) that can be read automatically by a computer system.

You do not need to create and retain paper copies when original records are electronic and cannot be
altered. In addition, you may substitute electronic versions of original paper records through
duplication or other forms of electronic conversion, provided that the procedures are subject to
periodic quality control reviews. Quality control reviews must ensure that electronic conversion
procedures provide safeguards against the alteration of records and assurance that records remain in a
format that is readable by a computer system.

Standards for Documentation of Personnel Expenses (§ 200.430(g)). Charges to federal awards for
salaries and wages must be based on records that accurately reflect the work performed. The records
must comply with your organization's internal controls and established accounting policies. Records
must support these costs for both the federal funds and cost share requirements. Personnel activity
reports or equivalent documentation may be requested if your records do not meet the standards in §
200.430(g)(8).

Equipment. You must retain records for equipment for three (3) years after final disposition (§
200.334(c)).

ACCESS TO FEDERAL AWARD INFORMATION (§ 200.337 and .338)
Recipient records. The NEA, Inspectors General, the Comptroller General of the United States, or any
of their authorized representatives must have the right of access to any records of the recipient
pertinent to the federal award to perform audits, execute site visits, or for any other official use. This
right also includes timely and reasonable access to the recipient's personnel for the purpose of
interview and discussion related to such documents or the federal award in general.




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Restrictions on public access to records. The NEA may not place restrictions on the recipient that limit
public access to the records of the recipient or subrecipient pertinent to an NEA award, except for
protected personally identifiable information (PII) or other sensitive information when NEA can
demonstrate that such records will be kept confidential and would have been exempted from
disclosure pursuant to the Freedom of Information Act (5 U.S.C. 552) or controlled unclassified
information pursuant to Executive Order 13556 if the records had belonged to the NEA.

Freedom of Information Act (FOIA). The Freedom of Information Act (5 U.S.C. 552) does not apply to
records that remain under the recipient's control except as required by § 200.315 (Intangible
Property). Unless required by federal, State, local, or tribal law, recipients are not required to permit
public access to their records. The recipient's records provided to the NEA generally will be subject to
FOIA and applicable exemptions.

Disclosure Notice. The NEA may share a copy of award applications and/or related materials submitted
to the NEA by applicants, with the public or other third parties where required or permitted by law. (§
200.339 through .343)


20. Remedies for Noncompliance and Termination (§ 200.339 and .340)

Remedies (§ 200.339). If you fail to comply with the US Constitution, federal statutes, regulations, or
the terms and conditions of your award, the NEA may impose additional specific conditions as
described in § 200.208. If the NEA determines that noncompliance cannot be remedied by imposing
additional conditions, the agency may take one or more of the following actions, as appropriate in the
circumstances:

   •   Temporarily withhold cash payments pending correction of the deficiency, or more severe
       enforcement action (§ 200.339(a)).
   •   Disallow costs for all or part of the activity associated with your noncompliance (§ 200.339(b)).
   •   Suspend or terminate the NEA award in part or in its entirety (§ 200.339(c)).
   •   Initiate suspension or debarment proceedings as authorized under 2 CFR 180 and our
       regulations at 2 CFR 32.3254 (§ 200.339(d)).
   •   Withhold further new NEA awards or award renewals (§ 200.339(e)).
   •   Take other legally available remedies (§ 200.339(f)).

Termination (§ 200.340 (a)). A termination occurs during the award’s period of performance. The NEA
award may be terminated in part or in its entirety as follows:


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   1. By the NEA, if you fail to comply with the terms and conditions of the federal award.
   2. By the NEA, with the consent of the recipient, in which case the two parties must agree upon
      the termination conditions. These conditions include the effective date and, in the case of
      partial termination, the portion to be terminated.
   3. By the recipient, upon sending the NEA a written notification of the reasons for such
      termination, the effective date, and, in the case of partial termination, the portion to be
      terminated. However, if the NEA determines that the remaining portion of the federal award
      will not accomplish the purposes for which the award was made, the NEA may terminate the
      award in its entirety.
   4. By the NEA, pursuant to the terms and conditions of the federal award, including, to the extent
      authorized by law, if an award no longer meets the program goals or agency priorities.
   5. By the NEA, when the recipient is determined to be in violation of the requirement in paragraph
      (g) of Section 106 of the Trafficking Victims Protection Act of 2000 (TVPA) as amended (22
      U.S.C. § 7104(g)). Termination may occur as described in Appendix C: 2 CFR Part 175, Award
      Term for Trafficking in Persons.

If the NEA terminates the award prior to the end of the period of performance for your material failure
to comply with the terms and conditions, the agency will report the termination in SAM.gov and
USASpending (§ 200.340(c) and .341(c)). The information will be available in these systems for 5 years
from the date of termination (§ 200.341(b)(2)). You can object or challenge the decision. (§
200.340(c)(1) and .342)

Government-wide suspension and debarment will follow a process in conjunction with the NEA Office
of Inspector General. (2 CFR Part 180 - OMB Guidelines to Agencies on Government-Wide Debarment
and Suspension (Nonprocurement – Subpart F)

Notification of termination requirement (§ 200.341). The NEA must provide written notice of
termination to the recipient. The written notice of termination should include the reasons for
termination, the effective date, and the portion of the NEA award to be terminated, if applicable.

Termination provisions (§ 200.211 and .208). Termination provisions may be included in the specific
terms and conditions for an award; a notification of intent by the NEA to terminate, or other options.
(§ 200.211(c)(v) and .208) The NEA reserves the right to take additional actions (§ 200.339 and .208)
such as:

   •   Requiring you to return a portion or all the award funds.
   •   Requesting that you remove acknowledgement of NEA support.
   •   Recommending government-wide suspension.

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   •   Taking other legally available remedies.

The NEA will notify you of such actions and give you an opportunity to provide information and come
into compliance. (§ 200.342)


21. Closeout, Adjustments, and Continuing Responsibilities (§ 200.344 and .345)

The NEA must close out the federal award when it determines that all administrative actions and
required work of the award have been completed. If you fail to complete the necessary administrative
actions or the required work for an award by the Delinquency Deadline, the NEA must proceed with
closeout based on the information available.

During the closeout process, the NEA reviews submitted final reports and other items to determine if
all applicable administrative actions and all required work of the award have been completed in an
acceptable manner and in accordance with the terms and conditions of the award.

You must liquidate all financial obligations incurred under the NEA award no later than 120 calendar
days after the conclusion of the period of performance. You must also promptly refund any
unobligated funds that the NEA paid and that are not authorized to be retained. See OMB Circular A-
129 and § 200.346. To return NEA funds, follow the instructions in the How to Manage Your NEA
Award Handbook.

The closeout of a federal award does not affect any of the following:

   •   The NEA’s right to disallow costs and recover funds on the basis of a later audit or review.
           o However, the NEA must determine whether to disallow costs and notify you within the
               record retention period.
   •   Your requirement to return funds or your right to receive any remaining and available funds as
       a result of review or corrections.
   •   The NEA’s ability to make financial adjustments to a previously closed award.
   •   Audit requirements if you must have a Single or Program-Specific Audit (§ 200 Subpart F).
   •   Property management and disposition requirements in § 200.310 through .316.
   •   Records retention as required in § 200.334 through .337.




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22. Single Audit Requirements (§ 200.501)

A non-federal entity that expends $1,000,000 or more in federal awards during the non-federal entity's
fiscal year must have a single or program-specific audit conducted for that year. The $1,000,000
threshold is the aggregate of funds from all federal sources.

If your non-federal entity meets or exceeds this threshold, a percentage of Single Audits costs may be
included in your NEA award budget. Otherwise, audit costs are unallowable (§ 200.425).

A non-Federal entity that expends less than $1,000,000 in federal awards during its fiscal year is
exempt from federal audit requirements for that year. However, in all instances, the records of the
non-Federal entity must be available for review or audit by appropriate officials of the NEA and the
Government Accountability Office (GAO).

If you have questions about Single Audit requirements, contact the NEA Office of Inspector General at
(202) 682-5402 or oig@arts.gov.




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                                    APPENDIX A
              NATIONAL POLICY AND OTHER LEGAL REQUIREMENTS, STATUTES,
                    AND REGULATIONS THAT GOVERN YOUR AWARD

You must ensure that you implement the funded project in full accordance with the US Constitution,
federal law, and public policy requirements: including, but not limited to, those protecting free speech,
religious liberty, public welfare, and the environment, and those prohibiting discrimination (§ 200.300).

As a registrant with SAM.gov, in most cases, you have already self-certified to your compliance with
these policies and legal requirements through the Financial Assistance General Certifications and
Representations, including attesting to the accuracy of the certification and acknowledging that you
may be subjected to criminal prosecution under Section 1001, Title 18 U.S.C, or civil liability under the
False Claims Act if you have misrepresented the information. A copy of this Financial Assistance
Certifications Report is available in your SAM.gov entity registration record.

1. Nondiscrimination Policies
As a condition of receipt of federal financial assistance, you acknowledge and agree to execute your
project, and require any contractors, successors, transferees, and assignees to comply with applicable
provisions of national laws and policies prohibiting discrimination, including but not limited to:

Title VI of the Civil Rights Act of 1964, as amended, and implemented by the National Endowment for
the Arts at 45 CFR 1110, provides that no person in the United States shall, on the grounds of race,
color, or national origin, be excluded from participation in, be denied benefits of, or be subject to
discrimination under any program or activity receiving federal financial assistance. Title VI also extends
protection to persons with limited English proficiency (42 U.S.C. 2000d et seq.).

As clarified by Executive Order 13166, Improving Access to Services for Persons with Limited English
Proficiency, national origin discrimination includes discrimination on the basis of limited English
proficiency (LEP). To ensure compliance with Title VI, you must take reasonable steps to ensure that
LEP persons have meaningful access to your programs. Meaningful access may entail providing
language assistance services, including oral and written translation, where necessary. You are
encouraged to consider the need for language services for LEP persons in conducting your programs
and activities. For assistance and information go to www.arts.gov/about/foia/library.

Title IX of the Education Amendments of 1972, as amended, provides that no person in the United
States shall, on the basis of sex, be excluded from participation in, be denied benefits of, or be subject
to discrimination under any education program or activity receiving federal financial assistance (20
U.S.C 1681 et seq.).

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Your NEA-approved project cannot unlawfully discriminate based on sexual orientation or gender
identity, consistent with the Supreme Court’s reasoning in Bostock v. Clayton County, 140 S. Ct. 1731
(2020).

The Age Discrimination Act of 1975, as amended, provides that no person in the United States shall,
on the basis of age, be excluded from participation in, be denied benefits of, or be subject to
discrimination under any program or activity receiving federal financial assistance (42 U.S.C 6101 et
seq.).

The Americans with Disabilities Act of 1990 (ADA), as amended, prohibits discrimination on the basis
of disability in employment (Title I); State and local government services (Title II); and places of public
accommodation and commercial facilities (Title III) (42 U.S.C 12101-12213).

Section 504 of the Rehabilitation Act of 1973, as amended, provides that no otherwise qualified
individual with a disability in the United States shall, solely by reason of his/her disability, be excluded
from participation in, be denied benefits of, or be subject to discrimination under any program or
activity receiving federal financial assistance (29 U.S.C 794).

Access should be integrated into all facets and activities of an organization, from day-to-day operations
to long range goals and objectives. Access accommodations and services should be given a high
priority, and funds should be available for these services. All organizations are legally required to
provide reasonable and necessary accommodations for staff and visitors with disabilities.

You must designate a staff member to serve as a 504 Coordinator and a Section 504 self-evaluation
must be on file at your organization. To help your organization evaluate its programs, activities, and
facilities to ensure full compliance with Section 504 accessibility requirements, the NEA’s Office of Civil
Rights has a Section 504 Self Evaluation Workbook available on the www.arts.gov website. The
completed Section 504 self-evaluation workbook or similar compliance and supporting documentation
must be kept on file for a period of three (3) years from the date the final Federal Financial Report
(FFR) is filed and be made available to the public and the NEA upon request. The NEA may request the
504 workbook or your compliance documents in various instances including an Inspector General audit
and/or civil rights investigation.

Design for Accessibility: A Cultural Administrator's Handbook provides guidance on making access an
integral part of an organization's staffing, mission, budget, and programs. You may download this
handbook and other resources from the NEA website at www.arts.gov. If you have questions, contact
the Office of Accessibility at accessibility@arts.gov or (202) 682-5532.

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2. Environmental and Historic Preservation Policies

The National Environmental Policy Act of 1969, as amended (NEPA), applies to any federal funds that
would support an activity that may have environmental implications. The NEA may ask you to respond
to specific questions or provide additional information in accordance with NEPA. If there are
environmental implications, the NEA will determine whether a categorical exclusion may apply; to
undertake an environmental assessment; or to issue a "finding of no significant impact," pursuant to
applicable regulations and 42 U.S.C. Sec. 4332.

The National Historic Preservation Act of 1966, as amended (NHPA), applies to any federal funds that
support activities that have the potential to impact any structure eligible for or on the National
Register of Historic Places, adjacent to a structure that is eligible for or on the National Register of
Historic Places, or located in a historic district, in accordance with Section 106. This also applies to
planning activities that may affect historic properties or districts. The NEA will conduct a review of your
project activities, as appropriate, to determine the impact of your project activities on the structure or
any affected properties. NEA review must be completed prior to any award funds being released. You
may be asked to provide additional information on your project to ensure compliance with NHPA at
any time during your award’s period of performance (16 U.S.C. 470).

3. Other National Policies

Debarment and Suspension. You must comply with requirements regarding debarment and
suspension in Subpart C of 2 CFR 180, as adopted by the NEA in 2 CFR 32.3254. There are
circumstances under which the NEA may receive information concerning your fitness to carry out a
project and administer federal funds, such as:

   •   Conviction of, or a civil judgment for, the commission of fraud, embezzlement, theft, forgery, or
       making false statements.
   •   Any other offense indicating a lack of business integrity or business honesty that seriously and
       directly affects your present responsibility.
   •   Any other cause of so serious or compelling a nature that it affects an organization's present
       responsibility.

In these circumstances, the NEA may need to act quickly to protect the interest of the government by
suspending your funding while investigating the specific facts. The NEA’s suspension actions may be
coordinated with other federal agencies that have an interest in the NEA’s findings. A suspension may
result in your debarment from receiving federal funding government-wide for up to three (3) years.

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The Drug Free Workplace Act requires you to publish a statement about your drug-free workplace
program. You must give a copy of this statement to each employee (including consultants and
temporary personnel) who will be involved in award-supported activities at any site where these
activities will be carried out.

You must maintain a record of the sites where work is performed under this award including the full
street address, city, state, and zip code. You must notify the National Endowment for the Arts Office of
Grants Management of any employee convicted of a violation of a criminal drug statute that occurs in
the workplace (41 U.S.C 701 et seq. and 45 CFR 1155).

Lobbying. You must not conduct political lobbying, as defined in the statutes and regulations listed
below, within your NEA-supported project. In addition, you must not use federal funds for lobbying
specifically to obtain awards. For definitions and other information on these restrictions, refer to the
following:

No part of the money appropriated by any enactment of Congress shall, in the absence of express
authorization by Congress, be used directly or indirectly to pay for any personal service, advertisement,
telegram, telephone, letter, printed or written matter, or other device, intended or designed to
influence in any manner a Member of Congress, a jurisdiction, or an official of any government, to
favor, adopt, or oppose, by vote or otherwise, any legislation, law, ratification, policy, or appropriation,
whether before or after the introduction of any bill, measure, or resolution proposing such legislation,
law, ratification, policy, or appropriation; but this shall not prevent officers or employees of the United
States or of its departments or agencies from communicating to any such Member or official, at his
request, or to Congress or such official, through the proper official channels, requests for any
legislation, law, ratification, policy, or appropriations which they deem necessary for the efficient
conduct of the public business, or from making any communication whose prohibition by this section
might, in the opinion of the Attorney General, violate the Constitution or interfere with the conduct of
foreign policy, counter-intelligence, intelligence, or national security activities (18 U.S.C 1913).

Lobbying (§ 200.450) describes the cost of certain influencing activities associated with obtaining
grants, contracts, cooperative agreements, or loans as an unallowable project cost. The regulation
generally defines lobbying as conduct intended to influence the outcome of elections or to influence
elected officials regarding pending legislation, either directly or through specific lobbying appeals to
the public.

Certification Regarding Lobbying to Obtain Awards. Section 319 of Public Law 101-121, codified at 31
U.S.C. 1352, prohibits the use of federal funds in lobbying members and employees of Congress, as

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well as employees of Federal agencies, with respect to the award or amendment of any federal grant,
cooperative agreement, contract, or loan. While non-federal funds may be used for such activities,
they must not be included in your project budget, and their use must be disclosed to the awarding
federal agency. Disclosure of lobbying activities by long-term employees (employed or expected to be
employed for more than 130 days by a recipient of federal funds) is, however, not required. In
addition, the law exempts from definition of lobbying certain professional and technical services by
applicants and awardees.

Davis-Bacon and Related Acts (DBRA), as amended, requires that each contract over $2,000 to which
the United States is a party for the construction, alteration, or repair of public buildings or public works
(these activities include, but are not limited to, painting, decorating, altering, remodeling, installing
pieces fabricated off-site, and furnishing supplies or equipment for a work-site) must contain a clause
setting forth the minimum wages to be paid to laborers and mechanics employed under the contract.
Under the provisions of DBRA, contractors or their subcontractors must pay workers who qualify under
DBRA no less than the locally prevailing wages and fringe benefits paid on projects of a similar
character.

You can find information about the laborers and projects that fall under DBRA on the U.S Department
of Labor’s website at www.dol.gov. DBRA wage determinations are to be used in accordance with the
provisions of Regulations, 29 CFR Part 1, Part 3, and Part 5, and with DOL’s Compliance Guide. The
provisions of DBRA apply within the 50 states, territories, protectorates, and Native American nations
(if the labor is completed by non-tribal laborers).

The Native American Graves Protection and Repatriation Act of 1990 applies to any organization that
controls or possesses Native American human remains and associated funerary objects and receives
Federal funding, even for a purpose unrelated to this Act (25 U.S.C. 3001 et seq.). For more information
see 43 CFR 10 - Native American Graves Protection and Repatriation Regulations at
https://www.ecfr.gov/.

If your project includes Native American human remains, funerary objects, sacred objects, and/or
objects of cultural patrimony, per the Native American Graves Protection and Repatriation Act
(NAGPRA) of November 16, 1990, you are required to:

   •   Consult with lineal descendants, Indian Tribes, or Native Hawaiian organizations on the
       appropriate storage, treatment, or handling of human remains or cultural items,
   •   Make a reasonable and good-faith effort to incorporate and accommodate the Native American
       traditional knowledge of lineal descendants, Indian Tribes, or Native Hawaiian organizations in
       the storage, treatment, or handling of human remains or cultural items, and

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   •   Obtain free, prior, and informed consent from lineal descendants, Indian Tribes, or Native
       Hawaiian organizations prior to allowing any exhibition of, access to, or research on human
       remains or cultural items. Research includes, but is not limited to, any study, analysis,
       examination, or other means of acquiring or preserving information about human remains or
       cultural items.

U.S. Constitution Education Program. Educational institutions (including but not limited to "local
educational agencies'' and "institutions of higher education") receiving federal funds from any agency
are required to provide an educational program on the U.S. Constitution on September 17 (P.L. 108-
447, Division J, Sec. 111(b)). For more information, go to the U.S. Department of Education’s website at
www.ed.gov and the Library of Congress website at www.loc.gov.

Prohibition on use of funds to ACORN or its subsidiaries. No NEA funds or cost share funds expended
for your NEA project may be distributed to the Association of Community Organizations for Reform
Now (ACORN) or its subsidiaries (P.L. 111-88 Sec. 427).




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                                     APPENDIX B
                 PART 25 AWARD TERM - SAM.GOV AND UEI REQUIREMENTS

Definitions. For the purposes of this award term:

   •   System for Award Management (SAM) means the federal repository into which a recipient
       must provide the information required for the conduct of business as a recipient. Additional
       information about registration procedures may be found at the SAM website (www.SAM.gov).
   •   Unique Entity Identifier (UEI) means the universal identifier assigned by SAM to uniquely
       identify an entity.
   •   Entity is defined at 2 CFR 25.400 and includes all of the following types as defined in § 200.1:
           o Non-federal entity;
           o Foreign organization;
           o Foreign public entity;
           o Domestic for-profit organization; and
           o Federal agency.
   •   Subaward has the meaning given in § 200.1.
   •   Subrecipient has the meaning given in § 200.1.

Requirement for SAM Registration. Unless exempt from this requirement under 2 CFR 25.110, the
recipient must maintain a current and active registration in SAM. The recipient's registration must
always be current and active until the recipient submits all final reports required under this federal
award or receives the final payment, whichever is later. The recipient must review and update its
information in SAM at least annually from the date of its initial registration or any subsequent updates
to ensure it is current, accurate, and complete. If applicable, this includes identifying the recipient's
immediate and highest-level owner and subsidiaries and providing information about the recipient's
predecessors that have received a federal award or contract within the last three years.

Requirement for Unique Entity Identifier (UEI). If the recipient is authorized to make subawards under
this federal award, the recipient must notify potential subrecipients that no entity may receive a
subaward until the entity has provided its UEI to the recipient; and the recipient must not make a
subaward to an entity unless the entity has provided its UEI to the recipient. Subrecipients are not
required to complete full registration in SAM to obtain a UEI.




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                                        APPENDIX C
                        PART 175 AWARD TERM - TRAFFICKING IN PERSONS

Note: The language of this award term is included in, and mandated by, 2 CFR 200. “Severe forms of
trafficking in persons” is a term defined by law at 22 U.S.C. 7102(11) as : “(A) sex trafficking in which a
commercial sex act is induced by force, fraud, or coercion, or in which the person induced to perform
such act has not attained 18 years of age; or (B) the recruitment, harboring, transportation, provision,
or obtaining of a person for labor or services, through the use of force, fraud, or coercion for the
purpose of subjection to involuntary servitude, peonage, debt bondage, or slavery.”



I.     Trafficking in Persons

(a) Provisions applicable to a recipient that is a private entity.
        (1) Under this award, the recipient, its employees, subrecipients under this award, and
        subrecipient's employees must not engage in:
               (i) Severe forms of trafficking in persons;
               (ii) The procurement of a commercial sex act during the period of time that this award
               or any subaward is in effect;
               (iii) The use of forced labor in the performance of this award or any subaward; or
               (iv) Acts that directly support or advance trafficking in persons, including the following
               acts:
                        (A) Destroying, concealing, removing, confiscating, or otherwise denying an
                        employee access to that employee's identity or immigration documents;
                        (B) Failing to provide return transportation or pay for return transportation costs
                        to an employee from a country outside the United States to the country from
                        which the employee was recruited upon the end of employment if requested by
                        the employee, unless:
                                 (1) Exempted from the requirement to provide or pay for such return
                                 transportation by the federal department or agency providing or entering
                                 into the grant or cooperative agreement; or
                                 (2) The employee is a victim of human trafficking seeking victim services
                                 or legal redress in the country of employment or a witness in a human
                                 trafficking enforcement action;
                        (C) Soliciting a person for the purpose of employment, or offering employment,
                        by means of materially false or fraudulent pretenses, representations, or
                        promises regarding that employment;
                        (D) Charging recruited employees a placement or recruitment fee; or

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                       (E) Providing or arranging housing that fails to meet the host country's housing
                       and safety standards.

       (2) The federal agency may unilaterally terminate this award or take any remedial actions
       authorized by 22 U.S.C. 7104b(c), without penalty, if any private entity under this award:
               (i) Is determined to have violated a prohibition in paragraph (a)(1) of this appendix; or
               (ii) Has an employee that is determined to have violated a prohibition in paragraph
               (a)(1) of this this appendix through conduct that is either:
                        (A) Associated with the performance under this award; or
                        (B) Imputed to the recipient or the subrecipient using the standards and due
                        process for imputing the conduct of an individual to an organization that are
                        provided in 2 CFR part 180, “OMB Guidelines to Agencies on Government-wide
                        Debarment and Suspension (Nonprocurement),” as implemented by the NEA at
                        2 CFR 32.3254

(b) Provision applicable to a recipient other than a private entity.
       (1) The federal agency may unilaterally terminate this award or take any remedial actions
       authorized by 22 U.S.C. 7104b(c), without penalty, if a subrecipient that is a private entity under
       this award:
               (i) Is determined to have violated a prohibition in paragraph (a)(1) of this appendix; or
               (ii) Has an employee that is determined to have violated a prohibition in paragraph
               (a)(1) of this appendix through conduct that is either:
                        (A) Associated with the performance under this award; or
                        (B) Imputed to the subrecipient using the standards and due process for
                        imputing the conduct of an individual to an organization that are provided in 2
                        CFR part 180, “OMB Guidelines to Agencies on Government-wide Debarment
                        and Suspension (Nonprocurement),” as implemented by the NEA at 2 CFR
                        32.3254.

(c) Provisions applicable to any recipient.
        (1) The recipient must inform the NEA and the NEA Inspector General immediately of any
        information you receive from any source alleging a violation of a prohibition in paragraph (a)(1)
        of this appendix.
        (2) The federal agency's right to unilaterally terminate this award as described in paragraphs
        (a)(2) or (b)(1) of this appendix:
                (i) Implements the requirements of 22 U.S.C. 78, and
                (ii) Is in addition to all other remedies for noncompliance that are available to the
                federal agency under this award.

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                       (3) The recipient must include the requirements of paragraph (a)(1) of this award
                       term in any subaward it makes to a private entity.
                       (4) If applicable, the recipient must also comply with the compliance plan and
                       certification requirements in 2 CFR 175.105(b).

(d) Definitions. For purposes of this award term:

Employee means either:

       (1) An individual employed by the recipient or a subrecipient who is engaged in the
       performance of the project or program under this award; or
       (2) Another person engaged in the performance of the project or program under this award and
       not compensated by the recipient including, but not limited to, a volunteer or individual whose
       services are contributed by a third party as an in-kind contribution toward cost sharing
       requirements.

Private Entity means any entity, including for-profit organizations, nonprofit organizations, institutions
of higher education, and hospitals. The term does not include foreign public entities, Indian Tribes,
local governments, or states as defined in § 200.1.

The terms “severe forms of trafficking in persons,” “commercial sex act,” “sex trafficking,” “Abuse or
threatened abuse of law or legal process,” “coercion,” “debt bondage,” and “involuntary servitude”
have the meanings given at section 103 of the TVPA, as amended (22 U.S.C. 7102).




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                             Ex. C
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                                         MEMORANDUM

 From:           Mary Anne Carter, Senior Advisor

 To:             NEA Grantmaking Staff

 RE:             EO 14168: Defending Women from Gender Ideology Extremism and
                 Restoring Biological Truth to the Federal Government

 Date:           March 17, 2025


 Dear NEA Grantmaking Staff:

 This memorandum concerns EO 14168, Defending Women from Gender Ideology
 Extremism and Restoring Biological Truth to the Federal Government (“the EO”) as that EO
 applies to the NEA’s grantmaking activities.

 I am writing to inform all staff that the NEA has rescinded all implementation of the EO, as it
 applies to the NEA’s grantmaking activities. Any prior statements the NEA has made
 concerning any provisions of the EO that apply to its grantmaking are null and void.

 To the extent that the NEA has evaluated any part of any grant applications on or since
 February 6, 2025 based on the EO, we are rescinding those evaluations and will reconsider
 those applications at the appropriate time, once the administrative process described
 below is complete.

 The NEA is initiating a new evaluation of the EO in accordance with the Administrative
 Procedure Act, sec. 5 U.S.C. § 551 et seq. We intend to address:

       1. How, in particular, recent judicial activity, including but not limited to court orders
          that do not apply to the NEA but that have preliminarily enjoined certain EO
          provisions concerning other federal government entities, e.g., Washington v. Trump,
          No. 2:25-cv-00244-LK, 2025 WL 659057, at *27-*28 (W.D. Wash. Feb. 28, 2025)
          (enjoining defendants’ application of EO 14,168 §§ 3(e), (g) to plaintiff States); Mem.
          Op. (ECF 115) & Order (ECF 116), PFLAG, Inc. v. Trump, No. 25-cv-337-BAH (D. Md.
          Mar. 4, 2025) (enjoining defendants’ application of EO 14,168 § 3(g) nationwide)
          affect our implementation of this order, if at all.
       2. The potential implementation of the EO as to the NEA’s grantmaking activities
          subject to §§ 8(a)(i) and (b) of the EO—that is, subject to “the authority granted by
          law to an executive department or agency, or the head thereof” and “consistent with
          applicable law”—including 20 U.S.C. § 951 et seq.




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 The NEA will not implement the EO at any grant evaluation stage during the current pending
 grant cycles, and any grants cycles in the future, unless and until such a time that the
 agency’s process of deliberating and considering this EO has completed.

 The NEA will not require any applicant for any agency funds to certify their compliance with
 the EO during this time.

 This direction should not be understood to impair the authority of the NEA to award, fund,
 terminate, or cancel grants at any stage in the grant lifecycle for reasons unrelated to the
 EO, consistent with applicable law.

 This new consideration and evaluation process will complete by April 16, 2025 and the
 agency will implement and make public the final decision resulting from that process by
 April 30, 2025.

 As a result of this reconsideration, the March Council meeting will be rescheduled to a time
 this process concludes. We will announce that date shortly.



 Sincerely,




 Mary Anne Carter
 Senior Advisor




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